Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 1 of 106




                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


   UNITED STATES OF AMERICA ex rel.              Case No. 18-20394-CIV-Scola/Torres
   DEREK LEWIS and JOEY NEIMAN,
                                                 FIRST AMENDED COMPLAINT FOR
                                   Plaintiffs,   VIOLATION OF THE FALSE CLAIMS
                                                 ACT [31 U.S.C. §§ 3729 et seq.]
   v.

   COMMUNITY HEALTH SYSTEMS, INC.;    JURY TRIAL DEMANDED
   CHSPSC, LLC; ALLIANCE HEALTH
   PARTNERS, LLC D/B/A MERIT HEALTH
   BATESVILLE; AMORY HMA LLC D/B/A
   MERIT HEALTH GILMORE MEMORIAL;
   ANNA HOSPITAL CORPORATION D/B/A
   UNION COUNTY HOSPITAL; ARMC LP
   D/B/A ABILENE REGIONAL MEDICAL
   CENTER; AUGUSTA HOSPITAL LLC
   D/B/A TRINITY HOSPITAL OF AUGUSTA;
   BANNER HEALTH D/B/A BANNER
   PAYSON MEDICAL CENTER; BARTOW
   HMA LLC D/B/A BARTOW REGIONAL
   MEDICAL CENTER; BERWICK
   HOSPITAL COMPANY LLC D/B/A
   BERWICK HOSPITAL CENTER; BIG
   BEND HOSPITAL CORPORATION D/B/A
   BIG BEND REGIONAL MEDICAL
   CENTER; BIG SPRING HOSPITAL
   CORPORATION D/B/A SCENIC
   MOUNTAIN MEDICAL CENTER; BILOXI
   HMA LLC D/B/A MERIT HEALTH
   BILOXI; BLACKWELL HMA LLC D/B/A
   ALLIANCEHEALTH BLACKWELL; BLUE
   RIDGE GEORGIA HOSPITAL COMPANY
   LLC D/B/A FANNIN REGIONAL
   HOSPITAL; BLUEFIELD HOSPITAL
   COMPANY LLC D/B/A BLUEFIELD
   REGIONAL MEDICAL CENTER;
   BRANDON HMA LLC D/B/A MERIT
   HEALTH RANKIN; BROWNWOOD
   HOSPITAL LP D/B/A BROWNWOOD



   10717447v15 7/26/2019 5:30 PM                                                      7935.001
   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 2 of 106



   REGIONAL MEDICAL CENTER;
   BULLHEAD CITY HOSPITAL
   CORPORATION D/B/A WESTERN
   ARIZONA REGIONAL MEDICAL
   CENTER; CARLISLE HMA, LLC D/B/A
   CARLISLE REGIONAL MEDICAL
   CENTER; CARLSBAD MEDICAL CENTER
   LLC D/B/A CARLSBAD MEDICAL
   CENTER; CEDAR PARK HEALTH
   SYSTEM LP D/B/A CEDAR PARK
   REGIONAL MEDICAL CENTER; CENTRE
   HOSPITAL CORPORATION D/B/A
   CHEROKEE MEDICAL CENTER;
   CHESTER HMA LLC D/B/A CHESTER
   REGIONAL MEDICAL CENTER;
   CHESTERFIELD MARLBORO LP D/B/A
   CHESTERFIELD GENERAL HOSPITAL;
   CITRUS HMA INC D/B/A SEVEN RIVERS
   REGIONAL MEDICAL CENTER;
   CLARKSDALE HMA LLC D/B/A MERIT
   HEALTH NORTHWEST MISSISSIPPI;
   CLINTON HMA, LLC D/B/A
   ALLIANCEHEALTH CLINTON; CLINTON
   HOSPITAL CORPORATION D/B/A LOCK
   HAVEN HOSPITAL; COLLEGE STATION
   HOSPITAL LP D/B/A COLLEGE STATION
   MEDICAL CENTER; CRESTVIEW
   HOSPITAL CORPORATION D/B/A NORTH
   OKALOOSA MEDICAL CENTER;
   CRESTWOOD HEALTHCARE LP D/B/A
   CRESTWOOD MEDICAL CENTER;
   DEACONESS HEALTH SYSTEM LLC
   D/B/A ALLIANCEHEALTH DEACONESS;
   DEMING HOSPITAL CORPORATION
   D/B/A MIMBRES MEMORIAL HOSPITAL;
   DURANT HMA LLC D/B/A
   ALLIANCEHEALTH DURANT;
   DYERSBURG HOSPITAL COMPANY LLC
   D/B/A TENNOVA HEALTHCARE-
   DYERSBURG REGIONAL; EAST
   GEORGIA REGIONAL MEDICAL
   CENTER, LLC; EMPORIA HOSPITAL
   CORPORATION D/B/A SOUTHERN
   VIRGINIA REGIONAL MEDICAL
   CENTER; EVANSTON HOSPITAL
   CORPORATION D/B/A EVANSTON



   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 3 of 106



   REGIONAL HOSPITAL; FOLEY
   HOSPITAL CORPORATION D/B/A SOUTH
   BALDWIN REGIONAL MEDICAL
   CENTER; FORREST CITY ARKANSAS
   HOSPITAL COMPANY LLC D/B/A
   FORREST CITY MEDICAL CENTER;
   FORT PAYNE HOSPITAL CORPORATION
   D/B/A DEKALB REGIONAL MEDICAL
   CENTER; FRANKLIN HOSPITAL
   CORPORATION D/B/A SOUTHAMPTON
   MEMORIAL HOSPITAL; GAFFNEY HMA
   LLC; GALESBURG HOSPITAL
   CORPORATION D/B/A GALESBURG
   COTTAGE HOSPITAL; GRANBURY
   HOSPITAL CORPORATION; GRANITE
   CITY ILLINOIS HOSPITAL COMPANY
   LLC D/B/A GATEWAY REGIONAL
   MEDICAL CENTER; GREENBRIER VMC
   LLC D/B/A GREENBRIER VALLEY
   MEDICAL CENTER; GREENVILLE
   HOSPITAL CORPORATION D/B/A LV
   STABLER MEMORIAL HOSPITAL;
   HAINES CITY HMA LLC D/B/A HEART
   OF FLORIDA REGIONAL MEDICAL
   CENTER; HAMLET HMA LLC D/B/A
   SANDHILLS REGIONAL MEDICAL
   CENTER; HARTSVILLE, LLC D/B/A
   CAROLINA PINES REGIONAL MEDICAL
   CENTER; HERNANDO HMA LLC; HMA
   FENTRESS COUNTY GENERAL
   HOSPITAL LLC; HMA SANTA ROSA
   MEDICAL CENTER LLC; HOSPITAL OF
   BARSTOW INC D/B/A BARSTOW
   COMMUNITY HOSPITAL; HOSPITAL OF
   LOUISA, INC. D/B/A THREE RIVERS
   MEDICAL CENTER; HOSPITAL OF
   MORRISTOWN LLC D/B/A LAKEWAY
   REGIONAL HOSPITAL; JACKSON HMA
   LLC; JACKSON HOSPITAL
   CORPORATION D/B/A KENTUCKY
   RIVER MEDICAL CENTER; JACKSON
   TENNESSEE HOSPITAL COMPANY LLC;
   JOURDANTON HOSPITAL
   CORPORATION D/B/A SOUTH TEXAS
   REGIONAL MEDICAL CENTER;
   KENNETT HMA LLC; KEY WEST HMA



   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 4 of 106



   LLC; KIRKSVILLE MISSOURI HOSPITAL
   COMPANY, LLC; LAKE SHORE HMA,
   LLC; LAKE WALES HOSPITAL
   CORPORATION; LANCASTER HMA LLC
   D/B/A HEART OF LANCASTER
   REGIONAL MEDICAL CENTER; LAS
   CRUCES MEDICAL CENTER LLC; LEA
   REGIONAL HOSPITAL LLC; LEBANON
   HMA LLC; LEHIGH HMA LLC D/B/A
   LEHIGH REGIONAL MEDICAL CENTER;
   LEXINGTON HOSPITAL CORPORATION
   D/B/A HENDERSON COUNTY
   COMMUNITY HOSPITAL; LONGVIEW
   MEDICAL CENTER LP D/B/A LONGVIEW
   REGIONAL MEDICAL CENTER;
   MADISON HMA LLC; MARION
   HOSPITAL CORPORATION D/B/A
   HEARTLAND REGIONAL MEDICAL
   CENTER; MARSHALL COUNTY HMA,
   LLC; MARTIN HOSPITAL COMPANY LLC
   D/B/A TENNOVA HEALTHCARE-
   VOLUNTEER MARTIN; MARY BLACK
   HEALTH SYSTEM LLC D/B/A MARY
   BLACK HEALTH SYSTEM
   SPARTANBURG; MAT-SU VALLEY
   MEDICAL CENTER LLC D/B/A MAT-SU
   REGIONAL MEDICAL CENTER; MAYES
   COUNTY HMA, LLC D/B/A
   ALLIANCEHEALTH PRYOR; MCKENZIE
   TENNESSEE HOSPITAL COMPANY LLC
   D/B/A MCKENZIE REGIONAL HOSPITAL;
   MCKENZIE WILLAMETTE REGIONAL
   MEDICAL CENTER ASSOCIATES LLC
   D/B/A MCKENZIE-WILLAMETTE
   MEDICAL CENTER; MCSA LLC D/B/A
   MEDICAL CENTER OF SOUTH
   ARKANSAS; MELBOURNE HMA, LLC
   D/B/A WUESTHOFF MEDICAL CENTER -
   MELBOURNE; MIDWEST REGIONAL
   MEDICAL CENTER, LLC D/B/A
   MIDWEST REGIONAL MEDICAL
   CENTER; MMC OF NEVADA LLC D/B/A
   MESA VIEW REGIONAL HOSPITAL;
   MOBERLY HOSPITAL COMPANY LLC
   D/B/A MOBERLY REGIONAL MEDICAL
   CENTER; MONROE HMA, LLC D/B/A



   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 5 of 106



   CLEARVIEW REGIONAL MEDICAL
   CENTER; MOORESVILLE HOSPITAL
   MANAGEMENT ASSOCIATES LLC D/B/A
   LAKE NORMAN REGIONAL MEDICAL
   CENTER; NAPLES HMA LLC D/B/A
   PHYSICIANS REGIONAL MEDICAL
   CENTER; NATCHEZ COMMUNITY
   HOSPITAL LLC D/B/A NATCHEZ
   COMMUNITY HOSPITAL; NATIONAL
   HEALTHCARE OF LEESVILLE, INC.
   D/B/A BYRD REGIONAL HOSPITAL;
   NATIONAL HEALTHCARE OF MT
   VERNON INC D/B/A CROSSROADS
   COMMUNITY HOSPITAL; NAVARRO
   HOSPITAL LP D/B/A NAVARRO
   REGIONAL HOSPITAL; NHCI OF
   HILLSBORO INC D/B/A HILL REGIONAL
   HOSPITAL; OAK HILL HOSPITAL
   CORPORATION D/B/A PLATEAU
   MEDICAL CENTER; OSCEOLASC LLC;
   PAINTSVILLE HOSPITAL COMPANY,
   LLC D/B/A PAUL B HALL REGIONAL
   MEDICAL CENTER; PASCO REGIONAL
   MEDICAL CENTER, LLC; PHILLIPS
   HOSPITAL CORPORATION D/B/A
   HELENA REGIONAL MEDICAL CENTER;
   PINEY WOODS HEALTHCARE SYSTEM,
   L.P. D/B/A WOODLAND HEIGHTS
   MEDICAL CENTER; POPLAR BLUFF
   REGIONAL MEDICAL CENTER LLC;
   PORT CHARLOTTE HMA LLC D/B/A
   BAYFRONT HEALTH PORT
   CHARLOTTE; PRIME HEALTHCARE
   SERVICES MESQUITE LLC; PUNTA
   GORDA HMA LLC; QHG OF ENTERPRISE
   INC D/B/A MEDICAL CENTER
   ENTERPRISE; QHG OF SOUTH
   CAROLINA INC D/B/A CAROLINAS
   HOSPITAL SYSTEM MARION; RED BUD
   ILLINOIS HOSPITAL COMPANY LLC
   D/B/A RED BUD REGIONAL HOSPITAL;
   RIVER OAKS HOSPITAL LLC D/B/A
   MERIT HEALTH RIVER OAKS;
   ROCKLEDGE HMA, LLC D/B/A
   WUESTHOFF MEDICAL CENTER -
   ROCKLEDGE; ROH LLC; ROSE CITY



   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 6 of 106



   HMA LLC D/B/A LANCASTER
   REGIONAL MEDICAL CENTER; RUSTON
   LOUISIANA HOSPITAL COMPANY LLC
   D/B/A NORTHERN LOUISIANA
   MEDICAL CENTER; SALEM HOSPITAL
   CORPORATION D/B/A THE MEMORIAL
   HOSPITAL OF SALEM COUNTY; SAN
   ANGELO HOSPITAL LP D/B/A SAN
   ANGELO COMMUNITY MEDICAL
   CENTER; SAN MIGUEL HOSPITAL
   CORPORATION D/B/A ALTA VISTA
   REGIONAL HOSPITAL; SEBASTIAN
   HOSPITAL LLC D/B/A SEBASTIAN
   RIVER MEDICAL CENTER; SEBRING
   HOSPITAL MANAGEMENT ASSOCIATES
   LLC D/B/A HIGHLANDS REGIONAL
   MEDICAL CENTER; SEMINOLE HMA,
   LLC D/B/A ALLIANCEHEALTH
   SEMINOLE; SHELBYVILLE HOSPITAL
   COMPANY LLC D/B/A TENNOVA
   HEALTHCARE-SHELBYVILLE; SILOAM
   SPRINGS ARKANSAS HOSPITAL
   COMPANY LLC D/B/A SILOAM SPRINGS
   REGIONAL HOSPITAL; STARKE HMA,
   LLC D/B/A SHANDS STARKE REGIONAL
   MEDICAL CENTER; STATESVILLE HMA
   LLC D/B/A DAVIS REGIONAL MEDICAL
   CENTER; SUNBURY HOSPITAL
   COMPANY LLC D/B/A SUNBURY
   COMMUNITY HOSPITAL; THE HEALTH
   CARE AUTHORITY OF THE CITY OF
   ANNISTON D/B/A STRINGFELLOW
   MEMORIAL HOSPITAL; TOOELE
   HOSPITAL CORPORATION D/B/A
   MOUNTAIN WEST MEDICAL CENTER;
   TULLAHOMA HMA LLC D/B/A
   TENNOVA HEALTHCARE-HARTON;
   TUNKHANNOCK HOSPITAL COMPANY
   LLC D/B/A TYLER MEMORIAL
   HOSPITAL; VAN BUREN HMA LLC D/B/A
   SPARKS MEDICAL CENTER- VAN
   BUREN; VENICE HMA LLC D/B/A
   VENICE REGIONAL BAYFRONT
   HEALTH; VICTORIA OF TEXAS LP D/B/A
   DETAR HOSPITAL NAVARRO;
   WATSONVILLE HOSPITAL



   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 7 of 106



   CORPORATION D/B/A WATSONVILLE
   COMMUNITY HOSPITAL; WEST GROVE
   HOSPITAL COMPANY LLC D/B/A
   JENNERSVILLE REGIONAL HOSPITAL;
   WHITE COUNTY MEDICAL CENTER
   D/B/A UNITY HEALTH HARRIS
   MEDICAL CENTER; WILLIAMSON
   MEMORIAL HOSPITAL LLC D/B/A
   WILLIAMSON MEMORIAL HOSPITAL;
   WILLIAMSTON HOSPITAL
   CORPORATION D/B/A MARTIN
   GENERAL HOSPITAL; WINDER HMA
   LLC D/B/A BARROW REGIONAL
   MEDICAL CENTER; WOMEN &
   CHILDRENS HOSPITAL LLC D/B/A LAKE
   AREA MEDICAL CENTER; WOODWARD
   HEALTH SYSTEM LLC D/B/A
   ALLIANCEHEALTH WOODWARD;
   YAKIMA HMA LLC D/B/A TOPPENISH
   COMMUNITY HOSPTIAL; YAKIMA HMA
   LLC D/B/A YAKIMA REGIONAL
   MEDICAL AND CARDIAC CENTER; and
   MEDHOST, INC.,

                                  Defendants.



   Jeffrey W. Dickstein (FL Bar No. 434892)
   PHILLIPS & COHEN LLP
   Southeast Financial Center
   200 S. Biscayne Blvd., Suite 2790
   Miami, Florida 33131
   Tel: (305) 372-5200
   jdickstein@phillipsandcohen.com


   Colette G. Matzzie (admitted pro hac vice)
   Luke J. Diamond (pro hac vice anticipated)
   PHILLIPS & COHEN LLP
   2000 Massachusetts Avenue, NW
   Washington, DC 20036
   Tel: (202) 833-4567
   cmatzzie@phillipsandcohen.com


   Edward H. Arens (admitted pro hac vice)
   PHILLIPS & COHEN LLP


   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 8 of 106



   100 The Embarcadero, Suite 300
   San Francisco, CA 94105
   Tel: (415) 836-9000
   earens@phillipsandcohen.com

   David J. Chizewer (pro hac vice anticipated)
   David E. Morrison (admitted pro hac vice)
   Harleen Kaur (pro hac vice anticipated)
   Danielle K. Johnson (pro hac vice anticipated)
   Juan C. Arguello (pro hac vice anticipated)
   GOLDBERG KOHN LTD.
   55 E. Monroe Street, Suite 3300
   Chicago, IL 60603
   Tel: (312) 201-4000
   Fax: (312) 863-7472
   David.chizewer@goldbergkohn.com
   David.morrison@goldbergkohn.com
   Harleen.kaur@goldbergkohn.com
   Danielle.johnsons@goldbergkohn.com
   Juan.Arguello@goldbergkohn.com




   598038.3
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 9 of 106



                                                    TABLE OF CONTENTS

                                                                                                                                            Page

   I.     INTRODUCTION .............................................................................................................. 1
   II.    PARTIES ............................................................................................................................ 8
          A.         Plaintiffs .................................................................................................................. 8
          B.         Defendants .............................................................................................................. 9
                     1.         Community Health Systems, Inc. ............................................................... 9
                     2.         CHSPSC, LLC .......................................................................................... 10
                     3.         CHS Hospitals........................................................................................... 10
                     4.         Medhost, Inc. ............................................................................................ 10
   III.   JURISDICTION AND VENUE ....................................................................................... 11
   IV.    STATUTORY AND REGULATORY BACKGROUND ................................................ 12
          A.         The False Claims Act ............................................................................................ 12
          B.         The Anti-Kickback Statute ................................................................................... 13
          C.         HITECH Act ......................................................................................................... 14
          D.         Medicare and Medicaid Electronic Health Records “Meaningful Use”
                     Incentive Programs ............................................................................................... 15
                     1.         2011 Edition Rule and Stage 1 Meaningful Use Criteria ......................... 16
                     2.         2014 Edition Rule and Stage 2 Meaningful Use Criteria ......................... 17
                     3.         2015 Edition Rule and Stage 3 Meaningful Use Criteria ......................... 19
                     4.         Incentives Available Under the Meaningful Use Program ....................... 20
                     5.         Certified EHR Technology and the IQR Program .................................... 21
          E.         ONC's Role in the Surveillance and Decertification Process ............................... 22
   V.     ALLEGATIONS ............................................................................................................... 25
          A.         Background ........................................................................................................... 27
                     1.         Medhost’s Certified EHR Technology ..................................................... 27
                     2.         CHS’s Implementation of Medhost EHR Technology for MU
                                Stage 2....................................................................................................... 28
          B.         Medhost’s EHR Technology Lacked Functionality Required for
                     Certification and for Users to Attest to Meaningful Use ...................................... 32
                     1.         Medhost EDIS and Enterprise Modules Did Not Provide for
                                Electronic Communication Between Emergency Department and
                                Inpatient Units Within CHS Hospitals ...................................................... 33



                                                                        i
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 10 of 106



                     (a)        Requirements for Attesting to Meaningful Use on the Basis
                                of Multiple EHR “Modules” ......................................................... 33
                     (b)        EDIS and Enterprise Could Not Be Integrated Properly to
                                Perform the Functions Required for Meaningful Use................... 35
                                (i)        Medhost's Software Did Not Enable Users to
                                           Perform Drug-Drug and Drug-Allergy Checks on
                                           Medication Orders Because It Could Not Reliably
                                           Communicate Information Between EDIS and
                                           Enterprise .......................................................................... 36
                                (ii)       Medhost’s Software Did Not Meet Requirements to
                                           Maintain Problem List, Medication List, Medication
                                           Allergy List, and Perform Clinical Information
                                           Reconciliation ................................................................... 43
               2.    Medhost EDIS and Enterprise Systems Did Not Consistently
                     Enable Providers to Perform "Computerized Provider Order Entry"
                     (CPOE) ...................................................................................................... 48
                     (a)        Medhost’s Software Failed to Enable Users to Create
                                Medication Orders Accurately ...................................................... 50
                                (i)        Medhost Software Miscalculates IV Drip Rates in
                                           Orders for Medications Dosed Based on the
                                           Patient’s Weight ................................................................ 51
                                (ii)       Medhost Software Miscalculates Weight-Based
                                           Doses Using Incorrect Medication Information ............... 51
                                (iii)      Medhost’s Software Records Incorrect Medication
                                           Administration Instructions When Users Select Its
                                           “Send Dose Now” Function .............................................. 52
                                (iv)       Medhost Software Miscalculates Weight-Based
                                           Medication Doses Using Static Clinical History
                                           Profile Data ....................................................................... 53
                                (v)        Medhost’s Software Is Incapable of Creating
                                           Accurate PRN Medication Orders .................................... 55
                                (vi)       Medhost’s Software Creates Inaccurate Medication
                                           Orders If Physicians Use Medhost’s “Physician’s
                                           Favorites” Feature to Create Orders ................................. 56
                                (vii)      Medhost’s Software Does Not Enable Users to
                                           Verify That the Medications they Administer
                                           Accurately Reflect the Medication Order for the
                                           Patient ............................................................................... 58
                                (viii) Medhost’s EHR Fails to Run Drug Interaction
                                       Checks on Medications Ordered at Discharge .................. 59

                                                           ii

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 11 of 106



                                              (ix)       Additional Issues With Medhost's CPOE Function
                                                         That Posed Serious Patient Harm ..................................... 60
                        3.         To Increase Its Meaningful Use Measures, CHS Developed Flawed
                                   Order Sets That Prevented Users From Recording Medication
                                   Orders Accurately and Reliably Using CPOE .......................................... 61
               C.       Medhost Enterprise Software Did Not Enable Users to Perform Clinical
                        Decision Support................................................................................................... 65
                        1.         Medhost’s Enterprise Software Cannot Reliably Perform CDS or
                                   Track When and Whether CDS Rules Have Been Enabled ..................... 66
                        2.         CHS Falsely Attested That It Met Meaningful Use Requirements
                                   for Clinical Decision Support ................................................................... 69
                                   (a)        CHS’s Use of the Fall Risk Assessment Failed to Meet the
                                              CDS Objective in MU Stage 1 ...................................................... 70
                                   (b)        CHS’s Use of Static Order Sets Failed to Meet the CDS
                                              Objective in MU Stage 2............................................................... 73
               D.       Medhost Enterprise Failed to Meet Certification Requirements for e-
                        Prescribing ............................................................................................................ 75
               E.       Medhost Falsely Certified Its Software As to the Meaningful Use
                        "Auditable Events and Tamper-Resistance" Objective ........................................ 78
               F.       CHS Falsely Attested That Its HMA Hospitals Met Meaningful Use
                        Requirements ........................................................................................................ 79
                        1.         HMA Hospitals Attested That They Met Meaningful Use ....................... 80
                        2.         CHS Falsely Attested That Its HMA Hospitals Met the Meaningful
                                   Use Interoperability Requirements for Modular EHRs ............................ 80
                                   (a)        HMA Hospitals’ Emergency Department Software Did Not
                                              Interface With the Hospitals’ Inpatient Software ......................... 81
                                   (b)        HMA Hospitals’ Inpatient Software Did Not Provide a
                                              Medication Order Interface With the Hospitals’ CPOE
                                              Application.................................................................................... 82
                                   (c)        HMA Hospitals’ CPOE Application Did Not Interface
                                              With Its Pharmacy Management System ...................................... 83
                        3.         CHS Falsely Attested That Its HMA Hospitals Met Meaningful
                                   Use Medication Reconciliation Requirements.......................................... 83
                        4.         CHS Knew That the HMA Hospitals Would Not Be Able to
                                   Truthfully Attest to Meaningful Use......................................................... 85
               G.       Medhost Illegally Provided Free Software to Induce CHS to Purchase
                        Medhost’s EHR Software ..................................................................................... 88
    VI.        Defendants Violated the False Claims Act ....................................................................... 91

                                                                        iii

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 12 of 106



                                            COMPLAINT

           Plaintiff-Relators Derek Lewis and Joey Neiman, through their attorneys, on behalf of the

    United States of America (the “Government”), for their First Amended Complaint against

    Defendants Community Health Systems, Inc. (“CHSI”), CHSPSC, LLC, the Defendant Hospitals

    identified in Exhibit A and incorporated by reference herein (collectively, with CHSI and

    CHSPSC, “CHS”), and Medhost, Inc. (“Medhost”) (collectively, “Defendants”), allege based

    upon personal knowledge, relevant documents, and information and belief, as follows:

    I.     INTRODUCTION

           1.     This is an action to recover damages and civil penalties on behalf of the United

    States of America arising from false and/or fraudulent records, statements and claims made and

    caused to be made by Defendants and/or their agents and employees, in violation of the federal

    False Claims Act, 31 U.S.C. §§ 3729 et seq. (“the FCA”).

           2.     This action alleges that Defendants submitted or caused to be submitted hundreds

    of millions of dollars in false claims to the Department of Health and Human Services (“HHS”)

    for federal incentive payments through the Electronic Health Record (“EHR”) Incentive

    Programs.

           3.     In 2009, Congress enacted the Health Information Technology for Economic and

    Clinical Health Act (“HITECH Act”) to “improve health care quality, safety, and efficiency of

    health IT and electronic health technology exchange.”

           4.     To that end, the HITECH Act established the Office of the National Coordinator

    for Health Information Technology (“ONC”) charged with the responsibility of creating a

    voluntary certification program for electronic health record vendors and a program for

    accreditation of testing laboratories and certifying bodies. Over a series of five years, ONC

    adopted mandatory certification criteria for “certified health information technology.”     The


                                                   1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 13 of 106



    certification program is intended to develop criteria to ensure that electronic health record

    systems would: (1) maintain patient health information in structured data; (2) require electronic

    ordering of labs, medication and radiology; (3) protect patient safety through drug-drug and

    drug-allergy interaction checks; (4) implement successive steps toward data portability and

    access to information for patients; and (5) protect patient health information through audit and

    security.

               5.   Electronic health records vendors, including Medhost, eagerly sought certification

    of electronic health record technology. As part of the certification program, EHR vendors attest

    to ONC authorized certification bodies (“ACB”) and accredited testing laboratories (“ATL”) that

    their software meets the certification requirements established by ONC. The EHR market is

    valued at over $20 billion, with some estimates predicting it to grow to over $38 billion.

    Competition among vendors is fierce with over 1,100 EHR vendors offering EHR systems.

               6.   The HITECH Act also established the Medicare and Medicaid Incentive Programs

    for Meaningful Use of Certified EHR Technology. Cognizant that hospitals and physicians might

    be hesitant to transition to electronic systems, the incentive programs were intended to induce

    providers to purchase certified EHR technologies and to implement them within their hospitals

    or medical practices to ensure that the systems were used for recordkeeping, ordering and other

    clinical decision support, safely and efficiently.      Beginning in 2011, Eligible Providers

    (hospitals, physicians and managed care organizations) could apply for federal subsidies if they

    could demonstrate meaningful use of certified EHRs. After 2015, Eligible Providers that had

    failed to adopt and implement EHR technology could be subject to downward adjustment of

    Medicaid and Medicaid program payments.




                                                    2

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 14 of 106



               7.   Congress authorized the Centers for Medicare and Medicaid Services (“CMS”) to

    promulgate criteria for incentive payments to Eligible Providers to ensure that they used certified

    technology in a “meaningful way.” Over three successive steps (Stage 1, 2 and 3), CMS raised

    the bar for Eligible Providers to demonstrate that they were using EHR technology meaningfully

    within their hospital, physician practice, or managed care organization and, therefore, were

    entitled to claim incentive payments. As of October 2018, CMS has disbursed over $38 billion

    dollars to subsidize purchase and use of certified EHR technologies in hospitals and physician

    practices.

               8.   From the beginning, regulations under the HITECH Act have emphasized to

    vendors and providers alike that the purpose of the federal certification and subsidy program is to

    ensure that EHR systems perform functions that are intended to improve clinical practices and

    protect patients against medical error. ONC has emphasized that the rules are not intended

    simply for a vendor to demonstrate compliance with technical standards or specifications but "to

    promote the adoption and meaningful use of health information technology." The 2010 Final

    Rule published by ONC "focuses heavily on establishing functionalities" in heath information

    technology from "the onset of the program." "[A]ll of the functionalities" proposed by the

    HITECH Act "are considered crucial to maximize the value to the health care system." This

    helps to ensure the rules can create certain functions in clinical practice "that improve patient

    care, the efficiency of the healthcare system and public and population health." 75 Fed. Reg.

    44314, 44321 (July 28, 2010), 42 C.F.R. §495.2 (2010).

               9.   This case concerns EHR technologies developed and sold by Defendant Medhost

    to hospitals nationwide, including numerous hospitals owned and operated by Defendant CHS.

    It also concerns an EHR technology that CHS developed itself and used in many of its hospitals.


                                                    3

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 15 of 106



               10.   The Defendants’ EHR technologies did not meet the requirements for certification

    as Certified EHR Technology. The Government requires Certified EHR Technology to enable

    users to perform certain functions using the EHR. Medhost’s and CHS’s technologies lacked the

    ability to perform required functions in accordance with ONC’s requirements.            For some

    functionality required for certification, Medhost’s and CHS’s software could not perform the

    functions at all. Medhost’s software, for example, was required to provide “clinical decision

    support” to providers but the function was often broken and unavailable to users. For other

    required functionality, Medhost’s and CHS’s software was unable to perform required functions

    accurately and reliably. Medhost’s software promised to enable users to create medication

    orders electronically, for example, but contained numerous flaws that meant that many of the

    orders that users created were recorded incorrectly. The incorrect orders were often dangerous:

    for example, users could use Medhost’s software to set the dose based on the patient’s weight,

    but the dose it calculated would not reflect that weight, creating dangerous conditions for

    pediatric and other patients.

               11.   Medhost knew that its software failed to provide required functionality but sought

    certification of the software nonetheless. Medhost marketed its software to health care providers

    based on the certifications it received, causing those providers to claim incentive payments from

    the Government that the providers were ineligible to receive.

               12.   CHS was one of Medhost’s largest customers. Starting in 2013, CHS undertook a

    company-wide effort to implement certified EHR technology in its hospitals with the goal of

    obtaining Meaningful Use incentive payments. CHS projected over $800 million in Meaningful

    Use (“MU”) incentive payments as an anticipated revenue stream and devoted considerable




                                                     4

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 16 of 106



    resources at the corporate level to implement the EHR systems in its many hospitals as quickly

    as possible to obtain hundreds of millions of dollars in MU funding.

               13.   CHS knew that Medhost’s software lacked functionality required for certification

    and its own ability to attest to Meaningful Use. In particular, prior to attesting to Meaningful

    Use of Medhost’s software, CHS knew that Medhost’s software lacked the following

    functionality required for the software to be eligible for certification and thus a basis for seeking

    incentive payments:

                     i.    Failure to integrate patient information between emergency room and

                           inpatient hospital EHR modules affecting clinical care and documentation of

                           patient medications, allergies and problems during a hospital stay;

                     ii.   Failure with placement of medication orders including a dangerous weight-

                           based dosing application that did not function consistently;

                     iii. Failure to provide Clinical Decision Support as required;

                     iv. Failure to create and transmit electronic prescriptions as required; and

                     v.    Failure to meet IT security requirements, including auditability and tamper

                           resistance.

               14.   Each of these issues were well known during the relevant time period by CHS

    officers and employees responsible for implementing Medhost’s software at its hospitals. From

    2013 until at least 2016, CHS regularly communicated with Medhost about the inadequate

    functionality.

               15.   Furthermore, CHS and Medhost knew that the Medhost products that CHS had

    chosen for its hospitals could not be integrated properly, preventing data from crossing from the

    emergency department to the inpatient department when a patient was admitted. CHS and


                                                      5

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 17 of 106



    Medhost knew that the lack of integration prevented it from being able to perform the functions

    required of a certified EHR technology.

               16.   Each of CHS’s hospitals attested to Meaningful Use notwithstanding its

    knowledge that the software did not contain the functionality required to be eligible for incentive

    payments.

               17.   CHS disregarded the inadequate functionality because it was unwilling to delay

    claiming funds under the Meaningful Use program. CHS implemented Medhost’s software at a

    rapid pace to be able to submit attestations for Meaningful Use incentive payments.

               18.   CHS’s rushed implementation of the software compounded the problems with the

    software and made the Medhost technology at its hospitals even more unreliable and, at times,

    dangerous. Among other things, because CHS and Medhost discovered that Medhost’s Clinical

    Decision Support (“CDS”) tool was non-functional, CHS used static order sets to attest to CDS

    even though the order sets did not actually provide any of the functionality required for CDS.

    Further, CHS also mapped many order sets incorrectly to the hospital formularies, causing

    doctors to inadvertently place orders for incorrect medications and medication dosages. One

    CHS employee warned that the CHS order set's flaws had “a very high potential for causing a

    catastrophic event.”

               19.   Medhost and CHS were both aware of the functional limitations with the Medhost

    products throughout 2013, 2014 and 2015. Nonetheless, Defendants submitted, or caused to be

    submitted, false attestations for incentive subsidies representing that the certified functionalities

    were met by the Medhost EDIS and Enterprise modules and that CHS hospitals had met the

    required Meaningful Use objectives and measures.




                                                     6

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 18 of 106



               20.     As described below, despite repeatedly being made aware of flaws in the certified

    functionality of its EDIS and Enterprise EHR, Medhost continued to re-certify its software and

    knowingly caused CHS to falsely attest to MU objectives.

               21.     The functional limitations, flaws, and lack of reliability with the Medhost

    software and CHS’s implementation of the software should have made the CHS hospitals

    ineligible for Meaningful Use incentive payments. Nonetheless, CHS, on behalf of its hospitals,

    knowingly misrepresented to the Government that the hospitals were eligible for subsidy

    payments.        CHS’s attestations were additionally false because Medhost had offered it free

    software at certain hospitals in exchange for its business, an unlawful kickback.

               22.     CHS also knowingly misrepresented its eligibility for Meaningful Use incentive

    payments for sixty hospitals that CHS acquired through a merger with Health Management

    Associates (“HMA”). These sixty hospitals used a modular EHR technology known as PULSE,

    which HMA had developed itself. The PULSE EHR modules at these sixty hospitals could not

    be integrated with the other EHR technologies necessary to perform the functions required for

    Meaningful Use. Basic functions, such as admitting a patient from the emergency department or

    transferring a patient from one inpatient department to another, could not be performed

    electronically, contrary to the requirements for certification and attestation, forcing hospital staff

    to print out the patient medical records for delivery to the new department. CHS managers

    responsible for the technology across the sixty hospitals knew that PULSE did not enable users

    to perform functions required for the hospitals to submit truthful attestations under the

    Meaningful Use program. Nonetheless, CHS submitted attestations for each of the hospitals.

               23.     Throughout    this   course   of   conduct,   CHS   knowingly    and    repeatedly

    misrepresented to the Government that the CHS hospitals using Medhost and PULSE met all


                                                          7

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 19 of 106



    required Meaningful Use objectives and measures and were eligible for Meaningful Use

    incentive payments.

               24.   The Government would not have made Meaningful Use subsidy payments to the

    CHS hospitals that used the Medhost or the PULSE software if it had known of the flaws with

    the software and problems with implementation of the software that resulted in failure to perform

    required functions.

               25.   Defendants’ false and fraudulent statements and conduct alleged in this Complaint

    violate the federal False Claims Act (“FCA”), 31 U.S.C. §§ 3729 et seq. The FCA allows any

    person having information about an FCA violation (referred to as a qui tam plaintiff or “relator”)

    to bring an action on behalf of the Government, and to share in any recovery.

               26.   Qui tam Plaintiff-Relators Derek Lewis and Joey Neiman seek through this action

    to recover all available damages, civil penalties, and other relief for the FCA violations alleged

    herein in every jurisdiction to which Defendants’ misconduct has extended.

    II.        PARTIES

               A.    Plaintiffs

               27.   Plaintiff United States of America is the real party in interest herein. The United

    States, acting through HHS, administers the Medicare program, Title XVIII of the Social

    Security Act, 42 U.S.C. §§ 1395-1395kkk-1 (“Medicare”), and administers grants to states for

    Medical Assistance Programs pursuant to Title XIX of the Social Security Act, 42 U.S.C.

    §§ 1396, et seq. (“Medicaid”). The United States, acting through HHS, also administers the

    Meaningful Use program and a certification program for EHR technology.

               28.   Qui tam Plaintiff-Relator Derek Lewis (“Relator Lewis”) is a resident of

    Murfreesboro, Tennessee. Relator Lewis worked for Defendant CHS from January 2009 to

    December 2016.        Between December 2012 and February 2015, Relator Lewis was CHS’s
                                                8

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 20 of 106



    Manager of Design and Midrange Engineering, Technology. In that role, he helped to provide

    infrastructure strategy and management to support CHS’s upgrade of 130 facilities to Medhost’s

    HMS 12.0 software. In February 2015, Relator Lewis became CHS’s Manager of Product

    Engineering, Deployment, where he was responsible for the configuration management,

    automation, and user experience components of CHS’s EHR product strategy. In August 2015,

    he was promoted to Director of Technology Adoption, Deployment, where he was responsible

    for managing EHR implementation projects at CHS hospitals.

               29.   Qui tam Plaintiff-Relator Joey Neiman (“Relator Neiman”) is a resident of

    Thompson’s Station, Tennessee. Relator Neiman worked for Defendant CHS from March 2012

    to December 2016. He joined CHS as a Technical Specialist for CHS’s Tier 1 Clinical Systems

    (CHS hospitals that utilized Medhost’s EHR software) and was responsible for leading technical

    projects involving the clinical systems at CHS’s hospitals. In February 2014, Relator Neiman

    was promoted to CHS’s Manager of Health Information System Delivery, Deployment Services.

    In that role, he was responsible for building EHR systems as part of hospital conversions and

    acquisitions, as well as program management for various projects involving CHS’s EHR

    software.

               B.    Defendants

                     1.    Community Health Systems, Inc.

               30.   Defendant Community Health Systems, Inc. (“CHSI”) is one of the largest

    publicly traded hospital companies in the United States and is a leading operator of general acute

    care hospitals. CHSI is incorporated under the laws of the state of Delaware, and headquartered

    at 4000 Meridian Boulevard, Franklin, Tennessee 37067. As of January 2018, through its wholly

    owned direct or indirect subsidiaries, CHSI owned, leased, or operated 127 hospitals in 20 states


                                                    9

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 21 of 106



    with an aggregate of approximately 26,000 licensed beds. Together, CHSI and its directly or

    indirectly owned affiliate companies are referred to herein as “CHS.”

                     2.    CHSPSC, LLC

               31.   Defendant CHSPSC, LLC (formerly Community Health Systems Professional

    Services Corporation) is a Delaware corporation headquartered at 4000 Meridian Boulevard,

    Franklin, Tennessee 37067. CHSPSC is a subsidiary of CHSI that manages CHS’s hospitals and

    other affiliates.

                     3.    CHS Hospitals

               32.   The Defendant CHS Hospitals are identified in Exhibit A and incorporated by

    reference herein. CHSI and/or its direct and indirect subsidiaries owned, leased, or operated

    each of the hospitals during the relevant time period. Each hospital attested to Meaningful Use

    of certified EHR technology based on their use of Medhost or PULSE software and thereby

    claimed incentive payments under the HITECH Act or avoided reductions in federal program

    reimbursement. Exhibit B, incorporated by reference herein, identifies some of the attestations

    that the Defendant Hospitals submitted for Medhost EHR technology and/or PULSE, including,

    for each attestation, the date the hospital attested, the certified technology or technologies that

    the hospital used to attest, and the specific functionality the hospital claimed to have used.

                     4.    Medhost, Inc.

               33.   Defendant Medhost, Inc. (“Medhost”), is a health information technology

    company that provides enterprise, departmental, and healthcare engagement solutions to over

    1,100 healthcare facilities in the United States. It is headquartered at 6550 Carothers Parkway,

    Suite 100, Franklin, TN 37067. Medhost’s suite of EHR software consists of multiple

    applications, including an Enterprise System for inpatient care, an EDIS system for Emergency


                                                     10

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 22 of 106



    Departments, a PIMS system for surgical operations and scheduling, and a business intelligence

    system for tracking and reporting Meaningful Use.

               34.   CHS is one of Medhost’s largest customers. Medhost’s other significant customer

    is the Brentwood, Tennessee-based LifePoint Health, Inc. (“LifePoint”), another large hospital

    chain.      LifePoint hospitals have also certified to Meaningful Use, and received incentive

    payments, based on the use of Medhost’s suite of EHR software.

    III.       JURISDICTION AND VENUE

               35.   This Court has jurisdiction over the subject matter of this action pursuant to 28

    U.S.C. § 1331 and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction on this

    Court for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730. Although the issue is no

    longer jurisdictional after the 2009 amendments to the FCA, to Relators’ knowledge there has

    been no statutorily relevant public disclosure of the “allegations or transactions” in this

    Complaint, as those concepts are used in 31 U.S.C. § 3730(e), as amended by Pub. L. No. 111-

    148, § 10104(j)(2), 124 Stat. 119, 901-02. Regardless of whether such a disclosure has occurred,

    Relators qualify as “original sources” of the information on which the allegations or transactions

    in this Complaint are based. Before filing this action, Relators voluntarily disclosed to the

    Government the information on which the allegations or transactions in this Complaint are based.

    Additionally, Relators have direct and independent knowledge about the misconduct alleged

    herein and that knowledge is independent of and materially adds to any publicly disclosed

    allegations or transactions relevant to their claims.

               36.   This Court has personal jurisdiction over the Defendants pursuant to 31 U.S.C.

    § 3732(a) because that section authorizes nationwide service of process and because the




                                                      11

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 23 of 106



    Defendants have minimum contacts with the United States. Moreover, one or more Defendants

    can be found in and/or transact business in the Southern District of Florida.

               37.   Venue is proper in the Southern District of Florida pursuant to 28 U.S.C.

    §§ 1391(b)-(c) and 31 U.S.C. § 3732(a) because one or more Defendants can be found in and/or

    transact business in this District, and because violations of 31 U.S.C. §§ 3729 et seq. alleged

    herein occurred within this District. CHS, for example, operated hospitals within this District,

    including the Lower Keys Medical Center located in Key West, Florida. As discussed below, the

    Lower Keys Medical Center submitted false records and statements to the Government to claim

    incentive payments for their use of PULSE and other EHR modules.

    IV.        STATUTORY AND REGULATORY BACKGROUND

               A.    The False Claims Act

               38.   The FCA imposes civil liability on any person who, inter alia: (1) knowingly

    presents, or causes to be presented, to an officer or employee of the United States Government a

    false or fraudulent claim for payment or approval; (2) knowingly makes, uses or causes to be

    made or used a false record or statement to get a false or fraudulent claim paid or approved by

    the Government; (3) knowingly conceals or knowingly and improperly avoids or decreases an

    obligation to pay or transmit money or property to the Government; or (4) conspires to violate

    the FCA. 31 U.S.C. §§ 3729(a)(l)(A), (B). (C), and (G).

               39.   The FCA defines a “claim” to include “any request or demand, whether under a

    contract or otherwise, for money or property and whether or not the United States has title to the

    money or property that - (i) is presented to an officer, employee, or agent of the United States; or

    (ii) is made to a contractor, grantee, or other recipient, if the money or property is to be spent or

    used on the Government’s behalf or to advance a Government program or interest ....” Id. at

    § 3729(b)(2).
                                                     12

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 24 of 106



               40.   The FCA defines the terms “knowing” and “knowingly” to mean “that a person,

    with respect to information - (i) has actual knowledge of the information; (ii) acts in deliberate

    ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard of the truth

    or falsity of the information. Id. at § 3729(b)(1)(A). The FCA does not require proof of specific

    intent to defraud. Id. at § 3729(b)(l)(B).

               41.   The FCA provides that the term “material” means “having a natural tendency to

    influence, or be capable of influencing, the payment or receipt of money or property.” Id. at

    § 3729(b)(4).

               42.   Any person who violates the FCA is liable for a mandatory civil penalty for each

    such claim, plus three times the damages sustained by the Government. Id. at § 3729(a)(l).

               B.    The Anti-Kickback Statute

               43.   The federal Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b(b), provides,

    in pertinent part:

                     (2)     Whoever knowingly and willfully offers or pays any remuneration
                     (including any kickback, bribe, or rebate) directly or indirectly, overtly or
                     covertly, in cash or in kind to any person to induce such person -

                     (A) To refer an individual to a person for the furnishing or arranging for
                     the furnishing of any item or service for which payment may be made in
                     whole or in part under a Federal health care program, or

                     (B)     To purchase, lease, order or arrange for or recommend purchasing,
                     leasing, or ordering any good, facility, service, or item for which payment
                     may be made in whole or in part under a Federal health care program,

                     Shall be guilty of a felony and upon conviction thereof, shall be fined not
                     more than $25,000 or imprisoned for not more than five years, or both.

               44.   Accordingly, manufacturers of products paid for in whole or in part by federal

    healthcare programs may not offer or pay any remuneration, in cash or in kind, directly or




                                                      13

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 25 of 106



    indirectly, to induce physicians, medical practices, or others to order or recommend products

    paid for in whole or in part by Federal healthcare programs such as Medicare and Medicaid.

               45.   The Patient Protection and Affordable Care Act (“PPACA”), Publ. L No. 111-48,

    124 Stat. 119 (2010), provides that violations of the AKS are per se violations of the FCA: “a

    claim that includes items or services resulting from a violation of this section constitutes a false

    or fraudulent claim for the purposes of [the False Claims Act].”

               46.   The PPACA also clarified the intent requirement of the Anti-Kickback Statute,

    and provides that “a person need not have actual knowledge of this section or specific intent to

    commit a violation” of the AKS in order to be found guilty of a “willful violation.” Id.

               C.    HITECH Act

               47.   Launched in 2010, the Health IT Certification Program is a voluntary certification

    program that allows for health IT vendors to obtain certification that their products meet

    federally-established standards, implementation specifications and certification criteria. These

    standards, specifications and certification criteria are promulgated through a series of

    rulemakings and adopted by the Secretary of Health and Human Services.

               48.   To obtain certification under the Health IT Certification Program, EHR vendors

    must pass testing with an ONC-Authorized Testing Laboratory (“ATL”) and attest to an ONC-

    Authorized Certification Body (“ACB”) that their EHR system meets all applicable standards,

    specifications and certification criteria required by law. Both the ONC itself and the ACB are

    authorized to conduct surveillance of certified health IT products and may require remediation or

    proceed with decertification.

               49.   Once an EHR is certified, a vendor may certify later versions of that software via

    Inherited Certified Status (“ICS”) if the capabilities for the certification criteria have not been


                                                     14

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 26 of 106



    adversely affected by the changes to the software. For example, a software developer may have

    added new uncertified capabilities to a newer version and/or made improvements to the

    interfaces. If the ACB determines that the certified capabilities were not adversely affected by

    these changes, the ACB may grant ICS to the newer version without re-testing of the previously

    certified capabilities.

               50.   After obtaining certification through testing or inheritance, an EHR vendor must

    maintain that certification by complying with all applicable conditions and requirements of the

    certification program. Among other things, the EHR product must be able to accurately, reliably,

    and safely perform its certified capabilities while in use in hospitals and physician offices.

               51.   The Health IT Certification Program has released three editions of certification

    criteria and regulations for Program requirements set forth herein and designated as 2011, 2014

    and 2015 Edition rules. Each new edition of certification criteria included more robust technical

    and interoperability requirements.

               D.    Medicare and Medicaid Electronic Health Records “Meaningful Use”
                     Incentive Programs

               52.   In 2011, CMS established the Medicare and Medicaid EHR Incentive Programs to

    encourage physicians and eligible hospitals to adopt, implement, upgrade and demonstrate

    meaningful use of Certified Electronic Health Record Technology (“CEHRT”).

               53.   The Meaningful Use Incentive Program, as set forth herein, consisted of three

    stages (Stage 1, Stage 2, and Stage 3).

               54.   In April 2018, CMS renamed the EHR Incentive Programs as the Promoting

    Interoperability Program and promulgated additional rules with program requirements.




                                                     15

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 27 of 106



                      1.       2011 Edition Rule and Stage 1 Meaningful Use Criteria

               55.    HHS implemented the EHR certification criteria and incentive payment

    requirements in multiple stages. On January 13, 2010, HHS published in the Federal Register

    interim final rules setting forth the “2011 Edition” certification criteria and a proposed rule

    setting forth the “Stage 1” requirements for incentive payments. HHS finalized these

    rulemakings by publication in the Federal Register on July 28, 2010. In Stage 1, Eligible

    Hospitals and Critical Access Hospitals (“CAHs”) needed to satisfy fourteen “core objectives”

    and five out of ten “menu set objectives.”

      Meaningful Use Stage 1                             Meaningful Use Stage 1
           Objective                                           Measure

    Use CPOE for medication orders        CHP-01956 More than 30% of medication orders created
    directly entered by any               by the EP or authorized providers of the EH’s or CAH's
    professional who can enter orders     inpatient or emergency department (POS 21 or 23) during
    into the medical record per State,    the EHR reporting period are recorded using CPOE.
    local and professional guidelines.

                                          *Exclusions apply: see CMS rule for details

    Implement drug-drug and drug-         The EP/EH/CAH has enabled this functionality for the
    allergy interaction checks.           entire EHR reporting period.

    Maintain an up-to-date problem        More than 80% of all unique patients seen by the EP or
    list of current and active            admitted to the EH’s or CAH’s inpatient or emergency
    diagnoses.                            department (POS 21 or 23) have at least one entry or an
                                          indication that no problems are known for the patient
                                          recorded as structured data.

    Maintain active medication list.      More than 80% of all unique patients seen by the EP or
                                          admitted to the EH’s or CAH’s inpatient or emergency
                                          department (POS 21 or 23) have at least one entry (or an
                                          indication that the patient is not currently prescribed any
                                          medication) recorded as structured data.

    Maintain active medication allergy    More than 80% of all unique patients seen by the EP or
    list.                                 admitted to the EH’s or CAH’s inpatient or emergency
                                          department (POS 21 or 23) have at least one entry (or an
                                          indication that the patient has no known medication
                                          allergies) recorded as structured data.

    EHs/CAHs: Implement one               Implement one clinical decision support rule.
    clinical decision support rule
    related to a high priority hospital
    condition along with the ability to
                                                              16

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 28 of 106



    track compliance with that rule.

    Protect electronic health              Conduct or review a security risk analysis in accordance
    information created or maintained      with the requirements under 45 CFR 164.308(a)(1) and
    by the CEHRT through the               implement security updates as necessary and correct
    implementation of appropriate          identified security deficiencies as part of its risk
    technical capabilities.                management process.

    EHs/CAHs: Provide patients the         EHs/CAHs: More than 50% of all unique patients who are
    ability to view online, download,      discharged from the inpatient or emergency department
    and transmit information about a       (POS 21 or 23) of an EH or CAH have their information
    hospital admission.                    available online within 36 hours of discharge.

    Provide clinical summaries for         Clinical summaries provided to patients for more than 50%
    patients for each office visit.        of all office visits within 3 business days.
                                           *Exclusions apply: see CMS rule for details

    The EP, EH, or CAH who                 The EP, EH, or CAH that transitions or refers their patient
    transitions their patient to another   to another setting of care or provider of care provides a
    setting of care or provider of care    summary of care record for more than 50% of transitions of
    or refers their patient to another     care and referrals. *Exclusions apply: see CMS rule for
    provider of care should provide        details
    summary care record for each
    transition of care or referral.

    The EP, EH, or CAH who receives        The EP, EH or CAH performs medication reconciliation
    a patient from another setting of      for more than 50% of transitions of care in which the
    care or provider of care or believes   patient is: [EH/CAH] admitted to the eligible hospital’s or
    an encounter is relevant should        CAH’s inpatient or emergency department (POS 21 or 23).
    perform medication reconciliation.




                       2.       2014 Edition Rule and Stage 2 Meaningful Use Criteria

               56.     On September 4, 2012, HHS published in the Federal Register the final rules

    setting forth the “2014 Edition” certification criteria and “Stage 2” requirements for incentive

    payments. In Stage 2, Eligible Hospitals and CAHs needed to satisfy sixteen “core objectives”

    and three out of six “menu set objectives.” An Eligible Professional’s use of certified EHR

    technology generally needed to satisfy seventeen “core objectives” and three out of six “menu set

    objectives.”

               57.     On October 16, 2015, CMS published in the Federal Register a final rule with

    comment period setting forth the “Modified Stage 2” requirements for incentive payments. For

                                                              17

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 29 of 106



    years 2015 through 2017, Modified Stage 2 eliminated the concept of “menu set objectives” and

    required all Eligible Hospitals, CAHs, and Eligible Professionals, to attest to a single set of

    objectives and measures.

    Meaningful Use Stage 2                             Meaningful Use Stage 2
         Objective                                           Measure

    Use CPOE for medication,          More than 60% of medication, 30% of laboratory, and 30% of
    laboratory and radiology          radiology orders created by the EP or authorized providers of
    orders directly entered by any    the EH’s or CAH's inpatient or emergency department (POS 21
    licensed healthcare               or 23) during the EHR reporting period are recorded using
    professional who can enter        CPOE.
    orders into the medical record
                                      *Exclusions apply: see CMS rule for details
    per State, local and
    professional guidelines.

    Use clinical decision support     1. Implement five clinical decision support interventions related
    to improve performance on         to four or more clinical quality measures at a relevant point in
    high-priority health              patient care for the entire EHR reporting period. Absent four
    conditions.                       clinical quality measures related to an EP’s, EH’s, or CAH's
                                      scope of practice or patient population, the clinical decision
                                      support interventions must be related to high-priority health
                                      conditions. Absent four clinical quality measures related to [an
                                      EP’s scope of practice or patient population/an eligible hospital
                                      or CAH’s patient population], the clinical decision support
                                      interventions must be related to high-priority health conditions

    Use clinical decision support     2. The EP, EH, or CAH has enabled and implemented the
    to improve performance on         functionality for drug-drug and drug-allergy interaction checks
    high-priority health              for the entire EHR reporting period.
    conditions

    EHs/CAHs: Implement one           Implement one clinical decision support rule.
    clinical decision support rule
    related to a high priority
    hospital condition along with
    the ability to track compliance
    with that rule.

    Protect electronic health         Conduct or review a security risk analysis in accordance with
    information created or            the requirements under 45 CFR 164.308(a)(1), including
    maintained by the CEHRT           addressing the encryption/security of data stored in CEHRT in
    through the implementation of     accordance with requirements under 45 CFR 164.312 (a)(2)(iv)
    appropriate technical             and 45 CFR 164.306(d)(3), and implement security updates as
    capabilities.                     necessary and correct identified security deficiencies as part of
                                      the EP’s, EH’s, or CAH's risk management process.

    EHs/CAHs: Provide patients        (1) More than 50% of all unique patients seen by the EP during
    the ability to view online,       the EHR reporting period are provided timely (within 4
    download, and transmit            business days after the information is available to the EP)
    information about a hospital      online access to their health information subject to the EP's
                                      discretion to withhold certain information. (2) More than 5% of
                                                              18

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 30 of 106



    admission                          all unique patients seen by the EP during the EHR reporting
                                       period (or their authorized representatives) view, download, or
                                       transmit to a third party their health information.
                                       *Exclusions apply: see CMS rule for details

    Provide clinical summaries         Clinical summaries provided to patients or patient-authorized
    for patients for each office       representatives within 1 business day for more than 50% of
    visit.                             office visits.
                                       *Exclusions apply: see CMS rule for detail

    The EP, EH, or CAH who             (1) The EP, EH, or CAH that transitions or refers their patient
    transitions their patient to       to another setting of care or provider of care provides a
    another setting of care or         summary of care record for more than 50% of transitions of
    provider of care or refers their   care and referrals. (2) The EP, EH, or CAH that transitions or
    patient to another provider of     refers their patient to another setting of care or provider of care
    care provides a summary care       provides a summary of care record for more than 10% of such
    record for each transition of      transitions and referrals either – (a) Electronically transmitted
    care or referral.                  using CEHRT to a recipient; or (b) Where the recipient receives
                                       the summary of care record via exchange facilitated by an
    Transitions of care.
                                       organization that is a NwHIN Exchange participant or in a
                                       manner that is consistent with the governance mechanism ONC
                                       establishes for the nationwide health information network. 3.
                                       An EP, EH, or CAH must satisfy one of the following: (A)
                                       Conducts one or more successful electronic exchanges of a
                                       summary of care record meeting the measure (for EPs at §
                                       495.6(j)(14)(ii)(B) and for eligible hospitals and CAHs the
                                       measure at§ 495.6(l)(11)(ii)(B)) with a recipient using
                                       technology to receive the summary of care record that was
                                       designed by a different EHR developer than the sender’s EHR
                                       technology certified at 45 CFR 107.314(b)(2); or (B) Conducts
                                       one or more successful tests with the CMS designated test EHR
                                       during the EHR reporting period.

    The EP, EH, or CAH who             The EH or CAH performs medication reconciliation for more
    receives a patient from            than 50% of transitions of care in which the patient is admitted
    another setting of care or         to the eligible hospital’s or CAH’s inpatient or emergency
    provider of care or believes an    department (POS 21 or 23).
    encounter is relevant should
    perform medication
    reconciliation.



                       3.       2015 Edition Rule and Stage 3 Meaningful Use Criteria

               58.     In October 2015, CMS also released a final rule that established Stage 3 in 2017

    and beyond, which focuses on using certified EHR technology to improve quality, safety, and

    efficacy of health care, including promoting patient access to self-management tools and

    improving population health.

                                                               19

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 31 of 106



               59.   Starting in 2015, all providers were required to use technology certified to the

    2014 Edition. For 2016 and 2017, providers could choose to use technology certified to the 2014

    Edition or the 2015 Edition.

               60.   To qualify for incentive payments in each Stage of the Meaningful Use program,

    healthcare providers are required each year to attest that they used certified EHR technology and

    satisfied the applicable Meaningful Use objectives and measures.          Use of certified EHR

    technology and satisfaction of applicable Meaningful Use objectives and measures are material

    to payment under the Meaningful Use program.

                     4.     Incentives Available Under the Meaningful Use Program

               61.   In general, Hospitals and CAHs are eligible for Medicare’s Meaningful Use

    incentives if they are paid using the Medicare Inpatient Prospective Payment System (“IPPS”),

    and are eligible for Medicaid’s Meaningful Use incentives if they have a Medicaid patient

    volume of at least 10 percent. Hospitals can be dual-eligible and receive incentives under both

    programs.

               62.   The incentive payments from Medicare and/or Medicaid are the product of three

    factors: (1) an “initial amount” between $2,000,000 and $6,370,200, which is determined based

    on the number of discharges; (2) the Medicare or Medicaid “share percentage,” which is based

    on the hospital’s ratio of Medicare or Medicaid inpatient days to total inpatient days (modified

    by charges for charity care); and (3) a “transition factor” based on the year the hospital began

    receiving incentive payments.

               63.   Medicare payments to Eligible Hospitals under this formula ended after 2016.

    Medicaid payments to Eligible Hospitals can continue until 2021, although hospitals may not

    gain eligibility after 2016.


                                                    20

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 32 of 106



               64.   Meanwhile, Eligible Hospitals that fail to meaningfully use Certified EHR

    technology are subject to negative payment adjustments under the Medicare program. Each

    year, Medicare adjusts the IPPS for inflation. Hospitals that fail the criteria are penalized by a

    reduction in this increase. The payment adjustment occurs two years after the EHR reporting

    period, and was a 25% reduction in 2015, a 50% reduction in 2016, and will be a 75% reduction

    for 2017 and after. There are no payment adjustments under the Medicaid program.

               65.   CAHs are also eligible for Medicare and Medicaid incentives under the program;

    however, the Medicare incentives are calculated differently. CAHs could qualify for an incentive

    payment from Medicare equal to the product of: (1) the CAH’s reasonable costs incurred for the

    purchase of certified EHR technology; and (2) the CAH’s Medicare share percentage, which in

    this instance is the Medicare share percentage as computed for Eligible Hospitals plus 20

    percentage points, subject to a maximum share percentage of 100%. Medicare incentive

    payments under this formula for CAHs ended after 2015.

               66.   Starting in 2017, the Medicare EHR Incentive Program for Eligible Professionals

    was incorporated into the Merit-based Incentive Payment System (MIPS) under the Quality

    Payment Program created by the Medicare Access and CHIP Reauthorization Act (MACRA), 42

    U.S.C. § 1395ee.

                     5.     Certified EHR Technology and the IQR Program

               67.   The Hospital Inpatient Quality Reporting Program (IQR) is a voluntary reporting

    program that provides a financial incentive for hospitals to submit data to CMS on specified

    quality measures for services furnished to Medicare beneficiaries. The Program’s goal is to drive

    quality improvement through measurement and transparency by publicly displaying data that




                                                    21

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 33 of 106



    helps consumers make more informed decisions about health care. It is also intended to

    encourage hospitals and clinicians to improve the quality and cost of inpatient care.

               68.   Similar to the negative payment adjustment for failure to meet Meaningful Use

    requirements, failure to report the data required under the IQR Program results in a negative

    payment adjustment to the hospital, calculated as a percentage reduction in Medicare’s annual

    increase to the IPPS. The payment adjustment occurs two years after the IQR reporting period. In

    2005-2006, the penalty was a .4% reduction, in 2007-2014 it was a 2% reduction, and from 2015

    onward, the penalty is a 25% reduction.

               69.   Originally, hospitals had to manually compile all of the data for submission to the

    Program. However, beginning in 2014, CMS gave hospitals the option of reporting some of the

    IQR data to CMS electronically in the form of electronic clinical quality measures (“eCQMs”).

    To submit eCQMs, CMS required hospitals to use Certified EHR technology. In 2016, CMS

    made the submission of eCQMs for the IQR Program mandatory, and required that hospitals

    submit the data using either 2014 Edition or 2015 Edition Certified EHR technology. These rules

    for the Program will continue at least through the 2018 reporting period.

               E.    ONC's Role in the Surveillance and Decertification Process

               70.   Under regulations promulgated in 2016, the ONC has authority to directly review

    CEHRT when it has reason to believe that the CEHRT may not conform to requirements of

    program criteria because the certified health IT is “causing or contributing to serious risks to

    public health or safety” and for additional reasons. ONC may require corrective action be taken

    by software vendors for non-conformities and, when necessary, may suspend or terminate a

    certification issued to a complete EHR or a health IT module. 45 C.F.R. § 170.580; see also 81

    Fed. Reg. 72404 (Oct. 19, 2016).


                                                     22

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 34 of 106



               71.    Notably, in the Preamble to the Final Rule published in October 2016 concerning

    ONC’s authority to conduct direct review of CEHRT, HHS noted that it has been a requirement

    since the first rule promulgated under the HITECH Act in 2010 that CEHRT be able to perform

    required specifications and capabilities in an “accurate and reliable manner . . . including in a

    manner that does not contribute to serious risks to public health or safety or other outcomes

    inconsistent with the National Coordinator’s responsibilities [under the statute].” 81 Fed. Reg.

    72404, 72411–12 (Oct. 19, 2016). For example, it notes that it is not enough that software be

    able to perform CPOE for medication but that it must also order it for the right patient and the

    right medication/dose. Id. HHS further notes: “this requirement applies to the use of certified

    capabilities individually and in combination with other certified and uncertified capabilities of

    health IT . . . failure to design and make certified capabilities available so that they perform in an

    accurate and reliable manner impairs the safe and effective use of certified capabilities and is a

    non-conformity under the Program.” Id. at 72413.

               72.    The 2016 Final Rule provides examples where ONC takes actions even where

    hospitals and physicians were aware of the deficiencies and had created manual workarounds to

    reduce risks.

               Example A: ONC receives multiple, detailed reports that a cloud-based EHR system
               (certified to the 2015 Edition) has become so slow that it may take up to five minutes to
               load a patient's record or to display information within a patient's record, such as the
               patient's medication and medication allergy lists. When providing emergency treatment,
               clinicians cannot wait five minutes for this information and must order medications with
               incomplete information about patients' current medications and medication allergies.
               Even when treatment is not urgent, the system's delays in responding lead many
               clinicians to assume that the EHR is not working and to order medications based on their
               best recollection of patients' current medications and allergies.

               Clinicians at several hospitals in multiple states are experiencing these problems. There is
               no indication that these hospitals are maintaining substandard hardware or network
               infrastructure below the recommendations from the health IT developer, nor that they
               have customized their health IT in a way that would adversely affect system performance.

                                                       23

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 35 of 106



               The health IT did not behave this way when it was installed, but as the clinical data and
               number of records has grown the speed of the EHR's responsiveness has decreased.

               In this example, ONC may initiate direct review of the certified health IT. The facts
               suggest that several capabilities of the certified health IT are implicated, including
               § 170.315(a)(6) (Problem list) and § 170.315(a)(7) (Medication list). The capabilities as
               implemented appear to be performing or interacting in a way that is causing or
               contributing to a serious risk of harm to public health or safety. The risk of harm is
               serious for several reasons. First, clinicians are abandoning use of the capabilities and
               resorting to memory to order medications for patients, which could result in severe harm
               to patients, including serious injury or death. Moreover, the risk is imminent because it is
               likely that harm will occur soon unless immediate action is taken to address the unsafe
               conditions. Further, the extent of the risk is large because the unsafe conditions have been
               reported at several hospitals in multiple states and may therefore put at risk a large
               number of patients.

               Assuming ONC were to initiate direct review, it would examine the certified capabilities
               to determine why they are not performing in an accurate and reliable manner and whether
               the cause of the problem was within the ability of the health IT developer to reasonably
               influence or control. The facts suggest that the problem is common across multiple
               customers and is not the result of any actions of the developer's customers or users.
               Because the problem developed over time, the developer would have been aware of the
               problem and could have prevented it by employing best software practices to prevent a
               system related slow-down under load. If this were established, ONC would find a non-
               conformity.

               ...

               Example C: ONC receives multiple reports from a large hospital concerning a potential
               problem with its EHR. Over the past week, several patients with congestive heart failure
               (CHF) had to be readmitted because of CHF exacerbations. Clinical and IT staff at the
               hospital have investigated the problem and believe that it is due to an error in the
               hospital's EHR, which is certified to the 2015 Edition. The hospital reports that its CHF
               patients are all given electronic scales that record their weight and automatically transmit
               the daily weight back to the hospital's EHR. The weight can be tracked and the patients
               can be alerted if they are gaining too much weight (from excess fluid, one of the signs of
               a CHF exacerbation) and need to adjust their CHF medications accordingly. The
               readmissions happened due to inaccurate weight data being presented to clinicians, which
               caused the clinicians to not adjust diuretic medication to manage patients' fluid status
               appropriately.

               Based on these facts, ONC may initiate direct review of the certified health IT. ONC
               could form a reasonable belief that the certified health IT may be causing or contributing
               to serious risks to public health or safety, in violation of Program requirements. A
               number of certified capabilities appear to be implicated, including § 170.315(e)(3)
               (Patient Health Information Capture) and certified capabilities that interact with vital

                                                       24

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 36 of 106



               signs data (which is part of the Common Clinical Data Set (§ 170.102)). Although the
               cause of the problem is not yet clear, it is reasonable to believe that it may be a result of
               one or more of these certified capabilities or of their interaction with other uncertified
               capabilities or products. Meanwhile, the occurrence of multiple readmissions in the past
               week suggests that, if the certified health IT is causing or contributing to these risks to
               public health or safety, the risks are sufficiently serious as to constitute a non-conformity
               and to warrant ONC's review.

    81 Fed. Reg. 72404, 72420–21 (Oct. 19, 2016).

               73.    ONC also has authority to take action where there are “credible allegations that a

    health IT developer obtained or maintained any part of the certification of its health IT by means

    of false or misleading statements or representations to an ONC-ACB; misrepresented or made

    false or misleading statements to customers or users about the certification or certified

    capabilities of the health IT; concealed problems, deficiencies, or potential non-conformities; or

    took other actions that would be likely either to compromise or to circumvent processes under

    the Program for testing, certifying, and conducting ongoing surveillance and review of certified

    health IT.” Id. at 72420.

    V.         ALLEGATIONS

               74.    This case concerns fraud, perpetrated by Medhost and CHS, in obtaining

    hundreds of millions of dollars in incentive payments under the Meaningful Use program by

    CHS and many other hospitals.

               75.    Beginning in 2010, Medhost sought certification for its EHR technologies that

    would enable its customers to claim incentive payments from HHS under the HITECH Act,

    provided they met the requirements for demonstrating Meaningful Use. In attesting to certifying

    bodies that its software met the requirements for Certified EHR Technology, Medhost

    misrepresented the ability of its software to perform functions required for the software to be

    eligible for certification, including that the software perform required functions safely and


                                                        25

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 37 of 106



    reliably. Its misrepresentations caused Medhost’s customers, including CHS, to claim hundreds

    of millions of dollars in incentive payments for software that was ineligible for such payments.

    Had Medhost not misrepresented the eligibility of its software for incentive payments, the

    Government would not have paid hospitals for Meaningful Use of that software.

               76.   Beginning in 2012, CHS represented to the Government that dozens of its

    hospitals met the objectives and measures for Meaningful Use of certified EHR technology

    based on their use of Medhost’s software. Based on those representations, CHS received over

    $385 million in Meaningful Use incentive payments between 2012 and 2014.

               77.   CHS’s attestations were false. The EHR modules that CHS implemented lacked

    required functionality and presented serious functional flaws that endangered patients, making its

    hospitals ineligible for incentive payments under the Meaningful Use program. The missing

    functionality in the software included a systemic lack of integration between EHR modules that

    meant that problem lists, medication lists, and allergy lists might not be available to clinicians as

    required for patients admitted through the Emergency Department. Other required functionality

    that was missing in CHS’s hospitals included the ability to create electronic medication orders

    accurately and safely. For example, CHS found that Medhost could not calculate weight-based

    dosing accurately for medication orders, causing the software to record orders that did not reflect

    the intent of the health care provider and consequently exposing patients to mistakes that are

    easily missed in institutional settings and potentially catastrophic.      Many CHS physicians,

    nurses, and hospital managers who relied on Medhost software often viewed it as an impediment

    to care, rather than an improvement.

               78.   Similar problems existed for the CHS hospitals that used PULSE EHR software

    modules. There too, the hospitals failed to integrate different EHR modules, forcing providers to


                                                     26

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 38 of 106



    print clinical information when patients transitioned from one care setting to another, as well as

    when doctors entered medication orders. Many workflows required nurses to enter the same

    patient information into the EHR multiple times, with the risk of patient harm increasing with

    each unnecessary step.

               79.   The Government would not have made Meaningful Use incentive payments to

    CHS or other attesting users had it known of the serious flaws with functional use of the

    Medhost and PULSE software systems.

               A.    Background

                     1.     Medhost’s Certified EHR Technology

               80.   Founded in 1997, Medhost originally limited its business to developing software

    for use in emergency departments with a program called Emergency Department Information

    System (“EDIS”). In 2010, Healthcare Management Systems (“HMS”) acquired Medhost and

    marketed the EDIS product with a wider suite of health information technology systems,

    including an inpatient hospital system known as Enterprise.

               81.   Medhost’s specialty was with EHR modules in the acute care hospital setting and

    even years before the enactment of the HITECH Act, it participated in voluntary standard setting

    organizations focused on functional requirements for hospital EHRs. Medhost advertised to the

    public for many years that its Emergency Room software (EDIS) integrated seamlessly with its

    inpatient hospital software (Enterprise). In 2010, for example, Medhost announced that its

    merger with HMS would allow it to "develop an integrated emergency department system for the

    HMS enterprise-wide solution designed for community hospitals" and provide it with

    "opportunities within the HMS customer base, to offer a fully integrated product with a

    consistent look and feel and all the benefits of the MEDHOST user."


                                                    27

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 39 of 106



               82.   To certify its software, Medhost worked with Drummond Group Inc.

    (“Drummond”), which is both an accredited testing laboratory (ATL) and an ONC authorized

    certification body (ACB).

               83.   As a part of the certification process directed by ONC, Drummond requires

    vendors to pass a series of test scripts that are intended to demonstrate that the software meets

    required criteria being tested. Drummond also requires that vendors attest to the use of certain

    standardized nomenclature and technical specification, the accuracy of the information

    submitted, and that the functions demonstrated during testing are typical of the regular

    functionality of the software.

               84.   If changes are made to certified software and a vendor seeks certification of the

    new version, Drummond works with vendors to determine whether the certification criteria have

    been adversely affected by the changes. If Drummond determines that the certification criteria

    have not been adversely affected by the changes based on the information it receives from the

    vendor, Drummond allows the vendor to “inherit” the certification of its older software to the

    newer version without re-testing.

                     2.     CHS’s Implementation of Medhost EHR Technology for MU Stage 2

               85.   CHS was one of Medhost’s largest customers and used its EHR at dozens of

    hospitals in its network.     Beginning in 2012, CHS implemented Medhost’s 2011 Edition

    software and attested to Meaningful Use at 78 hospitals during the Stage 1 reporting period. In

    late 2013, CHS began to implement Medhost’s 2014 Edition software at the hospitals that had

    used the 2011 Edition for Stage 1, while concurrently implementing 2011 Edition software at

    hospitals that had not attested to Meaningful Use in Stage 1. CHS’s goal was to implement




                                                    28

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 40 of 106



    certified EHR technology at as many of its hospitals as possible ahead of the 2014 Meaningful

    Use attestation reporting period.

               86.   The senior CHS executive responsible for the implementation project was Chief

    Information Officer (“CIO”) J. Gary Seay. Seay managed a large team from CHS’s corporate-

    level clinical operations and IT departments, including a deployment team that implemented

    Medhost’s EHR software at CHS hospitals as well as a clinical applications team that was

    responsible for testing new software releases and working support tickets from the field. The

    clinical applications team reported to Deputy CIO Manish Shah and was led by Vice President of

    Clinical Applications Jay Skibinski, Director of Clinical Systems Gary Fritz, and CHS Senior

    Manager of Physician Tools Tim Moore. The deployment team reported to Mr. Seay and was

    led by CHS Vice President Michael Yzerman, Vice President of Information Systems Steve

    Hernandez, and Program Management Director Teri Mitchell.             Together, the teams were

    responsible for deploying EHRs at CHS hospitals and for ensuring that the hospitals were

    prepared to submit Meaningful Use attestations to the Government.

               87.   CHS hosted regular Meaningful Use Governance meetings. At these meetings, the

    CHS executive leadership discussed issues, risks, gaps and challenges regarding Meaningful Use

    attestations. Attendees to the Meaningful Use Governance meetings included Steve Hernandez,

    Director of IT Internal Audit and Compliance Kristi Meyer, Manish Shah, Senior Vice President

    of Internal Audit Mark Buford, Director of Clinical Informatics Connie Senseney, and Senior

    Director of Operations Meagan Strawhacker.

               88.   In the months leading up to the 2014 Meaningful Use attestation reporting period,

    CHS rolled out updated versions of Medhost software at numerous CHS hospitals, which

    included new CPOE functionality intended to satisfy the Stage 2 Meaningful Use criteria.


                                                    29

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 41 of 106



    During the rollout, CHS was focused primarily on implementation of the software with the speed

    necessary to ensure receipt of tens of millions of dollars in Government awards through the EHR

    incentive programs. CHS’s focus on speed came at the expense of patient safety. Throughout

    2014 and 2015, CHS employees discovered that required functions were missing or broken in

    Medhost’s software, leading CHS Vice President and Chief Medical Information Officer Anwar

    Hussain to circulate educational memos to the CHS hospitals that used Medhost to describe

    problems in the Medhost software, the implications to patient safety, and any appropriate

    workarounds. CHS did not halt the rollout, and instead chose to move forward so as not risk

    receipt of the Meaningful Use incentive payments. CHS did not want to risk losing incentive

    payments in 2014 because those payments were included in revenue forecasts that had been

    shared with investors and because meeting the 90-day attestation period in 2014 allowed them to

    submit for the 365-day attestation period in 2015.

               89.   The team charged with reporting Meaningful Use measures to CMS consisted of

    Kristi Meyer along with her associates Connie Senseney and Meagan Strawhacker. Ms. Meyer

    would assemble Meaningful Use attestation packets, which were then sent to facility CFOs

    before being passed on to CMS for attestation. Ms. Strawhacker was responsible for monitoring

    Meaningful Use compliance, and Ms. Senseney was responsible for the operational aspects of

    the Medhost Meaningful Use reporting tool.

               90.   Soon after the Medhost rollout began, doctors and hospital administrators began

    to report that the updated Medhost software was not able to perform required functions

    accurately and reliably, and that the inadequate functionality was putting the safety of CHS

    patients at risk. For example, on July 8, 2014, the Director of Physician Services at CHS’s

    Deaconess Hospital wrote to the hospital CEO regarding physician frustration with the system:


                                                    30

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 42 of 106



    the doctors are “frustrate[ed] regarding the fact that the issues with Medhost are still a way from

    being resolved through upgrades, etc. … [and] they are expected to practice safety but the system

    has created an unsafe practice.” Another doctor at Deaconess, responding with a message that

    was forwarded on July 9 to Anwar Hussain, went further:

                     Please pass this along to any and every person who can leverage this.
                     There are ‘known issues’ from many months ago from previous
                     deployments which have not been addressed. We are finding new issues
                     every, and I mean every, day. I realize it would be convenient if all these
                     could be addressed in a single massive upgrade later. Many of these
                     cannot wait two or three or six months. An easy example of “safety issue”
                     is there is no warning mechanism when meds have been duplicated, or
                     tests duplicated. We cannot push safety as we have been doing for the last
                     2 years as a priority if we give no priority to a safe [EHR]. Things we
                     identified a month ago are still unresolved. Our list is growing, and
                     frustration is not lessening.

               91.   As more and more hospitals sounded the alarm, CHS instituted weekly “critical

    issues” calls to discuss the problems the hospitals were experiencing with Medhost’s EHR. The

    calls were led by corporate-level executives, including Mr. Fritz and Mr. Moore, and included IT

    and clinical informatics personnel from each of the Medhost hospitals. The calls began in

    approximately May 2014 and continued into at least November 2014. On the calls, the hospitals

    repeatedly voiced their concern about the EHR’s lack of functionality and safety.

               92.   In conjunction with the calls, CHS issued regular advisory memoranda to the

    hospitals. Many of the advisories came from Anwar Hussein as well as CHS Vice President and

    Chief Nursing Officer Pam Rudisill. The advisories were directed to the medical staff and senior

    executives (e.g., Chief Executive Officers and Chief Nursing Officers) at the hospitals. The

    advisories warned of serious, unresolved problems with the Medhost EHR software and

    instructed CHS hospitals to implement additional safety checks because of them. For example,

    Ms. Rudisill sent advisories to the hospitals titled “Double Checking Multi-Dose medication


                                                     31

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 43 of 106



    administration,” “Double Checking of Medications with Multiple Tablets Dispensed,” and

    “IMPORTANT ACTION REQUIRED: Medhost/HMS Order Sets.”

               93.   In their capacity as Managers working on CHS teams to roll out and support

    health IT software, Relators were notified by physicians and other hospital personnel of the

    functional and safety issues with the CPOE software, including, as described further below,

    errors in medication selection and dose calculation, failure to trigger delivery of medications at

    the correct time, and inability to reliably perform drug-drug and drug-allergy checking. Relators

    believe that this list of issues represents only a sample of the required functions that were lacking

    in CHS’s Medhost EHR software. Taken together, these flaws reveal EHR modules that are not

    able to perform certain functions reliably as required by federal law.

               94.   The Government created the EHR incentive program to facilitate the use of

    software to enhance public health and achieve superior health outcomes, and it chose the specific

    criteria required under the program to advance that goal. The ability of EHR software to meet the

    basic criteria for certified EHR technology is material to the government’s decision to pay users

    of the software under the EHR incentive programs.

               B.    Medhost’s EHR Technology Lacked Functionality Required for Certification
                     and for Users to Attest to Meaningful Use

               95.   Medhost’s EHR technologies lacked the functionality required for the technology

    to be eligible for certification as certified EHR technology (“CEHRT”) under the Health IT

    Certification Program. Medhost knew that the technology did not enable users to perform the

    required functions but nonetheless represented to Drummond that its products were capable of

    performing those functions. Due to those knowing misrepresentations, health care providers,

    including CHS, attested to Meaningful Use based on their use of Medhost’s certified EHR

    products and claimed incentive payments from HHS that they were not eligible to receive. CHS

                                                     32

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 44 of 106



    knew, having tested and evaluated Medhost’s software extensively, that Medhost’s software was

    ineligible for certification and that the Meaningful Use attestations it submitted based on that

    software were false.

                      1.     Medhost EDIS and Enterprise Modules Did Not Provide for
                             Electronic Communication Between Emergency Department and
                             Inpatient Units Within CHS Hospitals

               96.    CHS made false claims, and false records and statements material to false claims,

    in attesting to Meaningful Use based on a combination of two certified Medhost EHR

    technologies: EDIS, a system specialized for use in hospital emergency departments, and

    Enterprise, a system designed for inpatient hospital use. As explained below, the attestations

    were false because EDIS and Enterprise were improperly integrated and the combined systems

    could not perform the functions that CHS hospitals needed to perform to attest to Meaningful

    Use. CHS and Medhost both knew that the attestations were false.

                             (a)    Requirements for Attesting to Meaningful Use on the Basis of
                                    Multiple EHR “Modules”

               97.    Under ONC regulations, EHR vendors may certify EHRs as either “Complete

    EHRs” or “EHR Modules.” Hospitals and other providers may either purchase and implement a

    Complete EHR or purchase and configure modules to perform all certified functions. In either

    event, whether using a single Complete EHR system, or a combination of EHR Modules, the

    resultant combination must meet all applicable certification criteria necessary for the federal

    subsidy payment. As stated in the 2014 Edition ONC rules regarding Certified Electronic Health

    Record Technology, 77 Fed. Reg. 54277:

               The 2014 Edition EHR certification criteria support the MU objectives and
               measures under the EHR Incentive Programs and will be used to test and certify
               EHR technology (Complete EHRs and EHR Modules). EPs, EHs, and CAHs must
               adopt and implement certified Complete EHRs and/or certified EHR Modules in
               order to have CERHT. EPs, EHs, and CAHs who seek to qualify for incentive
               payments under the EHR Incentive Programs are required by statue to use
               CEHRT.
                                                    33

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 45 of 106



               98.    If a user elects to use a combination of EHR modules instead of a Complete EHR

    system, it is the user’s responsibility to ensure that the modules work together properly.

    Beginning in 2010, ONC defined Certified EHR Technology to include “a combination of EHR

    Modules” only if “the resultant combination also meets the requirements included in the

    definition of a Qualified EHR.” 45 C.F.R. § 170.102 (July 28, 2010). ONC cautioned users that

    “eligible hospitals that elect to adopt and implement certified EHR Modules should take care to

    ensure that the certified EHR Modules they select are interoperable and can properly perform in

    their expected operational environment,” 75 Fed. Reg. 2014, 2022 (Jan. 13, 2010), and that “if

    they chose to use EHR Modules to meet the definition of Certified EHR Technology, they alone

    would be responsible for properly integrating multiple EHR Modules.” 75 Fed. Reg. 36158,

    36188 (June 24, 2010).

               99.    Starting in 2011, EHR vendors marketing complete or modular EHR systems for

    hospitals were on notice that modules should be able to document clinical information about

    patients from admission, including admission through the emergency room to discharge of an

    inpatient. EHR vendors were not required to certify an interface between EHR modules but

    hospital EHRs needed to be able to maintain problem lists, medication lists, and allergy lists

    during a patient’s single hospital stay, and such information should be transmittable to the next

    care setting in electronic form.

               100.   Such integration within the hospital setting, and compilation of such information

    from a hospital stay, was understood by Congress and regulators to be critical to ensuring patient

    safety and to lay the foundation for health information exchange between providers and with

    patients.




                                                     34

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 46 of 106



                             (b)   EDIS and Enterprise Could Not Be Integrated Properly to
                                   Perform the Functions Required for Meaningful Use

               101.   From approximately 2010 through 2016, Medhost sold numerous hospitals the

    combination of EDIS and Enterprise. Medhost and the hospitals knew, or had ample reason to

    know, that a hospital that deployed EDIS and Enterprise would use both systems to store

    information on patients who received services in the emergency department and were

    subsequently admitted to the hospital. For the two modules to meet the requirements of certified

    EHR technology, they had to be capable of communicating information from EDIS to Enterprise

    safely and accurately.

               102.   CHS deployed the combination of EDIS and Enterprise at numerous hospitals

    nationwide and those hospitals attested to Meaningful Use. At all relevant times, however,

    Medhost and CHS knew that EDIS and Enterprise were not integrated and that clinical

    information recorded in EDIS did not pass to Enterprise accurately and reliably. Specifically, the

    data interface between EDIS and Enterprise was flawed and either did not allow or improperly

    transferred information on medications, allergies, and problem lists.        In addition, certain

    information, such as medication administration and electronic orders created or performed in the

    emergency department, did not cross over at all from EDIS to Enterprise.

               103.   As explained below, the combination of EDIS and Enterprise did not meet the

    requirements of certified EHR technology and hospitals were not eligible for incentive payments

    based on their use of the two modules. Medhost knew the two systems did not meet the

    requirements for certified EHR technology and made false records and statements that caused

    hospitals to submit false attestations of Meaningful Use. CHS, meanwhile, falsely attested to

    Meaningful Use knowing that EDIS and Enterprise did not meet the requirements of certified

    EHR technology.

                                                   35

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 47 of 106



                                     (i)    Medhost's Software Did Not Enable Users to Perform
                                            Drug-Drug and Drug-Allergy Checks on Medication
                                            Orders Because It Could Not Reliably Communicate
                                            Information Between EDIS and Enterprise

               104.   To meet the requirements for a certified EHR, the EHR must check all medication

    orders for drug-drug and drug-allergy interactions, which require that it automatically and

    electronically indicate to the user prior to completing and acting upon the medication order any

    drug-drug and drug-allergy contraindications based on the patient’s medication list and

    medication allergy list. The EHR must perform the drug interaction checks accurately, reliably,

    and safely. Medhost's EDIS and Enterprise software did not meet this requirement.

               105.   Under the 2011 edition criteria, 45 C.F.R. § 170.302(a) provided:

                      Complete EHRs or EHR Modules must include the capability to perform
                      the following functions electronically, unless designated as optional . . .
                      (a) Drug-drug, drug-allergy interaction checks—(1) Notifications.
                      Automatically and electronically generate and indicate in real-time,
                      notifications at the point of care for drug-drug and drug-allergy
                      contraindications based on medication list, medication allergy list, and
                      computerized provider order entry (CPOE).

               106.   Under the 2014 edition criteria, 45 C.F.R. § 170.314(a)(2) provides:

                      Complete EHRs or EHR Modules must include the capability to perform
                      the following functions electronically, unless designated as optional . . .
                      (2) Drug-drug, drug-allergy interaction checks - (i) Interventions: Before a
                      medication order is completed and acted upon during computerized
                      provider order entry (CPOE), interventions must automatically and
                      electronically indicate to a user drug-drug and drug-allergy
                      contraindications based on a patient’s medication list and medication
                      allergy list.

               107.   Medhost received certification for the 2011 edition of electronic health record

    criteria for Drug Interaction Checking on the following dates for the below EDIS software

    versions:

                                                     CHP             Certification
                            Software             Identification         Date

                                                      36

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 48 of 106




                      EDIS 4.2                     CHP-007341          11/1/2010
                      EDIS 4.2                     CHP-007628          2/11/2011
                      EDIS 4.2                     CHP-006458          3/17/2011
                      EDIS 4.3                     CHP-006964          5/5/2011
                      EDIS v4.3                    CHP-008404          3/29/2012

               108.   Medhost received certification for the 2014 edition of the electronic health record

    criteria for Drug Interaction Checking on the following dates for the below EDIS software

    versions:

                                                                                         Certification
                           Software                    CHP Identification                   Date
                      EDIS v4.4                 CHP-019266                           4/18/2013
                      EDIS v4.2                 CHP-019264                           4/18/2013
                      EDIS v4.3                 CHP-019265                           4/18/2013
                      EDIS v4.4                 CHP-020658                           10/10/2013
                      EDIS v4.4                 CHP-021753                           12/19/2013
                      EDIS v4.3 SR2             CHP-022198                           3/20/2014
                      EDIS v4.4 SR2             CHP-022199                           3/20/2014
                      EDIS 2014 R1              CHP-023063                           6/5/2014
                      EDIS 2014 R1 SR1          CHP-024045                           9/11/2014
                      EDIS 2015 R1              CHP-025338                           3/5/2015
                      EDIS v4.4 SR3             CHP-025549                           4/23/2015
                      EDIS 2015 R1 SR1          CHP-027925                           8/6/2015
                      EDIS 2015 R1 SR3          14.04.04.2788.MEDH.ED.01.1.160707    7/7/2016

               109.   Medhost received certification for the 2011 edition of the electronic health record

    criteria for Drug Interaction Checking on the following dates for the below Enterprise software

    versions:

                                                         CHP             Certification
                             Software                Identification         Date
                      Enterprise 9.2
                                                   CHP-007159          1/19/2011
                      Enterprise v10.0             CHP-007760          8/4/2011
                      Enterprise 10.0.0            CHP-007910          12/1/2011
                      Enterprise version 10.1      CHP-007546          2/2/2012
                      Enterprise v11               CHP-009004          7/12/2012
                      Enterprise v11.1             CHP-009408          9/20/2012

                                                          37

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 49 of 106



               110.   Medhost received certification for the 2014 edition of the electronic health record

    criteria for Drug Interaction Checking on the following dates for the below Enterprise software

    versions:

                                                                                    Certification
                             Software                  CHP Identification              Date
                      Enterprise v12            CHP-019567                          6/13/2013
                      Enterprise v12            CHP-021296                          11/14/2013
                      Enterprise v12.0 & v3.0   CHP-021298                          11/14/2013
                      Enterprise 2014 R1        CHP-022018                          2/20/2014
                      Enterprise 2014 R1        CHP-022017                          2/20/2014
                      Enterprise 2014 R1        CHP-022966                          5/19/2014
                      Enterprise 2014 R1        CHP-022965                          5/19/2014
                      Enterprise 2014 R2        CHP-023895                          8/28/2014
                      Enterprise 2014 R1        CHP-023897                          8/28/2014
                      Enterprise 2014 R2        CHP-023891                          8/28/2014
                      Enterprise 2014 R1        CHP-023893                          8/28/2014
                      Enterprise v12            CHP-023890                          8/28/2014
                      Enterprise v12 and v3     CHP-023889                          8/28/2014
                      Enterprise 2014 R2 SR3    CHP-025317                          2/26/2015
                      Enterprise 2014 R2 SR4    CHP-027640                          6/25/2015
                      Enterprise 2014 R2 SR4    CHP-027642                          6/25/2015
                      Enterprise 2015 R1        CHP-028401                          11/12/2015
                      Enterprise 2015 R1 SR1    CHP-028970                          12/30/2015
                      Enterprise 2015 R1 SR1    CHP-028971                          12/30/2015
                      Enterprise 2015 R1 SR2    CHP-029180                          3/3/2016
                      Enterprise 2016 R1        14.04.04.2788.MEDH.16.01.1.160616   6/16/2016
                      Enterprise 2016 R1 SR1    14.04.04.2788.MEDH.CO.01.1.161006   10/6/2016


               111.   However, despite attesting that its software could perform the Drug Interaction

    Checking function, and obtaining certification on that function, Medhost’s software did not

    reliably perform the drug and allergy interaction checks required for certified EHR technology.

               112.   EDIS uses a different drug codification scheme than Enterprise. The codification

    scheme used by EDIS is created by First Databank (“FD”); Enterprise’s drug codification

    scheme is created and maintained by a different company, Medi-Span.


                                                       38

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 50 of 106



               113.   There are multiple vocabularies that are designed to enable EHR technologies to

    communicate medication information to other EHR technologies safely and accurately, with the

    best known being the non-proprietary Unified Medical System, RxNorm, from the National

    Library of Medicine. The purpose of these unifying languages is exactly to prevent issues

    described herein.

               114.   Both Medi-Span and FD codification should have been linked to RxNorm codes.

    Instead of using RxNorm when sending medication information to Enterprise, however, EDIS

    and Enterprise used a text-matching algorithm to attempt to match EDIS’s FD codes to

    Enterprise’s Medi-Span codes, a flawed system that caused failures with interaction checking

    with stunning frequency.

               115.   When a patient is admitted to a CHS emergency room, the emergency department

    will record the patient’s home medications and allergies in EDIS, which assigns them FD codes.

    If the patient is admitted to the hospital, the hospital must import the patient’s home medications

    and allergies from EDIS into Medhost Enterprise.

               116.   Because Medhost Enterprise uses a different codification scheme than EDIS,

    Enterprise uses text mnemonics to translate the patient’s FD codes into Medi-Span identifiers.

    The process of matching FD codes to Medi-Span identifiers using mnemonics has caused errors

    in which the drugs saved in EDIS for the patient are mismatched in Enterprise to different drugs,

    or to different units of measure or methods of administration.

               117.   It was a known issue to both Medhost and CHS that drugs and allergies did not

    transfer over accurately and reliably from EDIS to Enterprise.

               118.   For example, the failure of EDIS and Enterprise to properly transfer medications

    was discussed on multiple CHS "ClinRec Issues" calls. On a January 21, 2015 "ClinRec Issues"


                                                     39

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 51 of 106



    call, Angela McKerrow of CHS noted that the interface between EDIS and Enterprise was "junk"

    and had to be disabled. Without an interface, all medications crossed over as uncodified,

    unstructured data that had to be "cleaned-up" manually by pharmacists.                 The transfer of

    uncodified, medication information—including routes, frequencies, units of measure, and drug

    name—was again discussed on an April 15, 2015 "ClinRec Issues" call.

               119.     These concerns continued to be voiced in a July 16, 2015 "ClinRec Issues" call.

    On this call, McKerrow referenced a mapping tool—discussed further below—that supposedly

    matched 70-80% of the drugs from EDIS to Enterprise; however, per McKerrow, the amount of

    unstructured data orders was still higher than she expected. Basic drugs, such as aspirin, were

    crossing over as unstructured data. Furthermore, there was no alert to nurses that drug dosages,

    frequencies, etc. were being imported to Enterprise as unstructured data. The call participants

    discussed patient safety concerns with the units of measure for unstructured data orders. The

    unstructured data were causing downstream problems for physician due to the lack of interaction

    checking.         Amanda Dorr at the DeTar facility noted that "patient safety issues had been

    horrendous without an EDIS interface." Physicians complained about Medhost as "substandard"

    compared to Cerner and EPIC, two competing EHR vendors. In response to questions on why

    two Medhost EHR modules used two different databases, McKerrow and Tom Frundle explained

    that the problem was the acquisition of two different Medhost products but the problems would

    be fixed by a promised Medhost mapping tool. Yet, these interface failures continued through at

    least October 27, 2015.

               120.     Furthermore, the inability of allergies to transfer into Enterprise was a "critical"

    "known issue" at Medhost for Enterprise, as recently as its Enterprise 2014 R2 SR3 version,

    which was certified in February 2015. A log from 2015 reflects that there is an "error when


                                                         40

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 52 of 106



    importing Allergies from CCD." The "alternative workflow solution" that Medhost proposed

    both acknowledged that "[t]his is new functionality that isn’t working" and that "[a]llergies need

    to be entered manually." Medhost slated to fix the issue in later releases, Enterprise 2014 R2

    SR4 and Enterprise 2015 R1, which were not certified until June 2015 and November 2015. In

    other words, Medhost did not implement functionality to perform allergy checking by users of

    EDIS and Enterprise—as required for them to attest to Meaningful Use—for 4-9 months after it

    knew that its functionality was inadequate. During that interim, Medhost purported to have a

    software that met the requisite regulatory criterion, while knowing that the functionality was not

    working.

               121.   Notably, compounding the problem of transferring allergy and drug information

    from EDIS to Enterprise, Medhost did not include many basic allergies in its coding. This

    necessitated the creation of one-off hard coded additions to each hospital's software.         For

    example, a Lake Wales, Florida facility complained,

                      When pre-built allergies cannot be located in MedHost, they will be free-
                      texted in the system which will bypass secondary background checking.
                      Allergies are updated presently as they are discovered as missing.
                      Potential regular enhancement or updates needed, especially based on
                      what has already been discovered. Many of these are basic allergies and
                      should already be part of the standard build.

               122.   In other words, unless a facility manually updated its allergy lists, the allergy

    would be entered as unstructured data, or "free-text," and thus the allergy would not be subject to

    allergy interaction checking.

               123.   Medhost attempted various methods of transferring or translating the FD codes to

    Medi-Span identifiers, including hard-coding a limited number of medications or allergies into a

    crosswalk between FD and Medi-Span. However, such hard-coding did not solve the problems

    with unstructured data that arose when a drug or allergy was not included on the crosswalk.

                                                     41

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 53 of 106



               124.   Moreover, for drugs, Medhost attempted to apply a basic text-matching algorithm

    to the FD codes, looking for a textual match to the formulary database in Medhost Enterprise.

    When Medhost Enterprise successfully matched an FD code to the formulary database, it would

    map that code to a Medi-Span identifier and run a drug and/or allergy interaction check. If

    Medhost Enterprise was unable to match the FD code, however, it would import the code as

    unstructured data.

               125.   However, like all unstructured data entries, Medhost Enterprise excludes the

    unmatched codes from the medication and allergy lists it uses for drug interaction checks. On or

    about May 9, 2014, Medhost learned that a CHS facility in Cedar Park had an incident where a

    drug administered through PCA (i.e., patient controlled administration) failed to flag as an

    allergy. Medhost was made aware that there were "more examples" where there were "no

    alert[s] to an allergy."

               126.   This problem was compounded by the frequent use of unstructured medication

    entries at CHS hospitals for medications brought by the patient from home (“home

    medications”). When Medhost Enterprise imports a code as an unstructured data element, it fails

    to import any information on the route, frequency, or unit of measurement for the relevant

    medication, which can lead to errors if the doctor continues the medication while the patient is in

    the hospital.

               127.   The text-matching algorithm has a high failure rate. Even after multiple revisions,

    the algorithm works less than seventy percent of the time under test conditions in the case of

    home medications.

               128.   In addition, the Medhost EHR’s drug interaction checks do not function reliably

    with custom and local medications. Custom medications are medications that are modified by a


                                                      42

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 54 of 106



    doctor to suit a particular patient’s needs. Local medications are those that doctors or patients

    provide themselves, outside of the normal hospital pharmacy process.

               129.   Custom medications and local medications are frequently not on the hospital

    formulary, and therefore do not have available Medi-Span identifiers in the Medhost database.

    Providers are able to order such medications in Enterprise using a Medi-Span search function,

    but those medication orders are not screened for drug interactions because the medications lack

    Medi-Span identifiers.

                                       (ii)   Medhost’s Software Did Not Meet Requirements to
                                              Maintain Problem List, Medication List, Medication
                                              Allergy List, and Perform Clinical Information
                                              Reconciliation

               130.   Under the 2014 edition criteria, 45 C.F.R. § 170.314(b)(4) provides that complete

    EHRs or EHR Modules must include the capability to "enable a user to electronically reconcile

    the data that represent a patient's active medication, problem, and medication allergy list," a

    process known as Clinical Information Reconciliation. For each list type, the software must

    "[e]lectronically and simultaneously display (i.e., in a single view) the data from at least two list

    sources in a manner that allows a user to view the data and their attributes," "[e]nable a user to

    create a single reconciled list of medications, medication allergies, or problems," and "[e]nable a

    user to review and validate the accuracy of a final set of data and, upon a user's confirmation,

    automatically update the list."

               131.   Medhost received certification for the 2014 edition of electronic health record

    criteria for Problem List, Medication List, Medication Allergy List, and Clinical Information

    Reconciliation on the following dates for the listed software versions:

                                                                                    Certification
                             Software                 CHP Identification               Date
                      Enterprise v12           CHP-019567                           6/13/2013
                                                      43

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 55 of 106



                                                                                    Certification
                             Software                  CHP Identification              Date
                      Enterprise v12            CHP-021296                          11/14/2013
                      Enterprise v12.0 & v3.0   CHP-021298                          11/14/2013
                      Enterprise 2014 R1        CHP-022018                          2/20/2014
                      Enterprise 2014 R1        CHP-022017                          2/20/2014
                      Enterprise 2014 R1        CHP-022966                          5/19/2014
                      Enterprise 2014 R1        CHP-022965                          5/19/2014
                      Enterprise 2014 R2        CHP-023895                          8/28/2014
                      Enterprise 2014 R1        CHP-023897                          8/28/2014
                      Enterprise 2014 R2        CHP-023891                          8/28/2014
                      Enterprise 2014 R1        CHP-023893                          8/28/2014
                      Enterprise v12            CHP-023890                          8/28/2014
                      Enterprise v12 and v3     CHP-023889                          8/28/2014
                      Enterprise 2014 R2 SR3    CHP-025317                          2/26/2015
                      Enterprise 2014 R2 SR4    CHP-027640                          6/25/2015
                      Enterprise 2014 R2 SR4    CHP-027642                          6/25/2015
                      Enterprise 2015 R1        CHP-028401                          11/12/2015
                      Enterprise 2015 R1 SR1    CHP-028970                          12/30/2015
                      Enterprise 2015 R1 SR1    CHP-028971                          12/30/2015
                      Enterprise 2015 R1 SR2    CHP-029180                          3/3/2016
                      Enterprise 2016 R1        14.04.04.2788.MEDH.16.01.1.160616   6/16/2016
                      Enterprise 2016 R1 SR1    14.04.04.2788.MEDH.CO.01.1.161006   10/6/2016

               132.   Clinical Information Reconciliation is the process of creating a complete and

    accurate list of a patient’s current medications and comparing the list to those in the patient

    record or medication orders. This reconciliation is done to avoid medication errors such as

    omissions, duplications, dosing errors, or drug interactions.

               133.   Clinical Information Reconciliation should be done at every transition of care in

    which a new medication is ordered or an existing medication order is rewritten. “Transitions of

    care” refers to changes in practitioner or setting, like being transferred from a surgery unit to a

    general care unit, or being discharged from the hospital.               If no Clinical Information

    Reconciliation process is in place, it may be easy for a specialty health care provider, focused on

    one component of care at a specific point in the patient’s hospital stay, to overlook other aspects


                                                       44

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 56 of 106



    of the patient’s health care needs at other points in the patient’s stay. For example, a patient may

    take a daily anticoagulant that needs to be discontinued during her hospital stay for a surgery,

    and a medical provider may forget to order the restart of that medication upon discharge.

    Clinical Information Reconciliation creates a streamlined process at each transition so that there

    are no medication, allergy, or problem duplicates or discrepancies, which would cause patient

    safety issues.

               134.   EHR software that is certified to the Meaningful Use Clinical Information

    Reconciliation criterion must enable a user to create a single reconciled list of medications,

    medication allergies, or problems.     It must also allow the user to review and validate the

    accuracy of a final set of data and automatically update the list once the user has confirmed the

    accuracy.

               135.   Medhost had a Clinical Information Reconciliation software module called

    "ClinRec." Within ClinRec, users could complete the reconciliation process, and then once the

    information was reconciled, users could place medication orders.

               136.   However, Medhost’s ClinRec did not function properly, and consistently

    endangered patients. Around late April or early May 2014 after a recent rollout to CHS facilities

    of new features within Enterprise, CHS facilities noticed an alarming problem with ClinRec:

    during an admission or transfer reconciliation, when a physician selected to “continue” a

    medication, the prior order was cleared out and a new order was created rather than a

    continuation occurring. The creation of a new order was contrary to the function the provider

    intended to perform (continuing an existing order) and caused patient safety issues. For example,

    if a patient received a dose of morphine in a general care setting and then an hour later was

    transferred to surgery, a physician using Enterprise for medication reconciliation might choose to


                                                    45

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 57 of 106



    continue the morphine use. Instead of recording the physician’s order, Enterprise would wipe

    out the order and replace it with a new order. Thus, the original order with the record of the

    initial administration would be discontinued, and a new morphine order would show up on the

    electronic Medication Administration Record (eMAR) as available to give to the patient. A new

    nurse could then give the patient morphine again, earlier than the patient’s next scheduled dose

    under the original order, causing significant risk for overdosing. CHS notified Medhost of this

    problem in early May 2014.         Medhost’s response was that the system was functioning as

    designed.

               137.   This ClinRec problem in Medhost’s Enterprise software was such a risk to patient

    safety that CHS implemented a workaround and put manual checks in place to account for

    patient safety, while simultaneously escalating the issue with Medhost as a critical problem that

    needed to be fixed. In an email on May 9, 2014 with a subject line of “MedHost Tier 1 critical

    issues update,” CHS Deputy CIO Manish Shah noted “MedRec [Medication Reconciliation]

    currently has a manual workflow in place, and a permanent fix is scheduled to be delivered from

    MedHost on 5/27.”

               138.   Although MedHost was actively working on a fix and knew that problems with its

    ClinRec feature were so problematic that its customers were resorting to a workaround, MedHost

    again certified as to the Clinical Information Reconciliation criterion of Meaningful Use on May

    19, 2014. Medhost did not deploy software intended to fix the issue until June 11, 2014.

               139.   In July 2014, CHS notified Medhost that the ClinRec function in Enterprise also

    could not properly reconcile home medications. When home medications imported from EDIS

    were transferred to Enterprise and reconciled using the ClinRec function, the software often

    populated the incorrect unit of measure (“UOM”). Once reconciled, the incorrect UOM became


                                                     46

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 58 of 106



    a permanent part of the home medication record, and the error could not be corrected or changed.

    The incorrect UOM would "pre-populate or carry forward" at each subsequent admission. This

    caused a significant risk of incorrect dosing.

               140.   In April 2015, CHS facilities also noticed that the brand name and the generic

    name of the same drug would sometimes appear on the discharge clinical reconciliation screen,

    meaning that unless this error was caught by the user, a patient could be discharged with

    instructions to take twice the amount of medication the physician actually intended for the

    patient to take. CHS raised this issue on a call with Medhost on April 15, 2015.

               141.   In June 2015, CHS notified Medhost that the issue of new orders being placed

    when a drug is “continued,” discussed in ¶136–138 above, was still occurring, notwithstanding

    the software fix that Medhost had deployed. Additionally, ClinRec was not maintaining the

    record of home medications through the entirety of the patient’s stay, such that during

    reconciliation at discharge, a physician could not discharge the patient with the same home

    medication they were taking before their hospital stay.

               142.   Despite these regular problems with clinical information reconciliation that

    Medhost was aware of and working to fix, Medhost continued to certify and re-certify its

    software as to Clinical Information Reconciliation criterion of Meaningful Use.




                                                     47

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 59 of 106



                      2.   Medhost EDIS and Enterprise Systems Did Not Consistently Enable
                           Providers to Perform "Computerized Provider Order Entry" (CPOE)
               143.   Medhost’s EHR software failed to enable users to perform computerized

    provider order entry (“CPOE”) in a manner that met the requirements for certification as

    Certified EHR Technology.

               144.   Under the 2011 edition criteria, there were two regulations, 45 C.F.R.

    § 170.304(a) and 45 C.F.R. § 170.306(a), that specified the requirements for CPOE, one for an

    ambulatory setting and the other for an inpatient setting.

               145.   Both regulations required:

                      Computerized provider order entry. Enable a user to electronically record,
                      store, retrieve, and modify, at a minimum, the following order types: (1)
                      Medications; (2) Laboratory; and (3) Radiology/imaging.

               146.   Under the 2014 edition criteria, 45 C.F.R. § 170.314(a)(1) provides:

                      Computerized provider order entry. Enable a user to electronically record,
                      change, and access the following order types, at a minimum: (i)
                      Medications; (ii) Laboratory; and (iii) Diagnostic imaging.

               147.   Under both editions, medication orders must have been recorded in RxNorm, the

    standard specified in § 170.207(d)(2).

               148.   As with any EHR criteria, the EHR must be able to perform the required CPOE

    functions accurately, reliably, and safely.

               149.   Medhost received certification for the 2011 edition of electronic health record

    criteria for CPOE on the following dates for the below EDIS software versions:

                                                       CHP           Certification
                            Software               Identification       Date
                      EDIS 4.2                 CHP-007341           11/1/2010
                      EDIS 4.2                 CHP-007628           2/11/2011
                      EDIS 4.2                 CHP-006458           3/17/2011
                      EDIS 4.3                 CHP-006964           5/5/2011
                      EDIS v4.3                CHP-008404           3/29/2012

                                                        48

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 60 of 106




               150.   Medhost received certification for the 2014 edition of the electronic health record

    criteria for CPOE on the following dates for the below EDIS software versions:

                                                                                         Certification
                           Software                    CHP Identification                   Date
                      EDIS v4.4                 CHP-019266                          4/18/2013
                      EDIS v4.2                 CHP-019264                          4/18/2013
                      EDIS v4.3                 CHP-019265                          4/18/2013
                      EDIS v4.4                 CHP-020658                          10/10/2013
                      EDIS v4.4                 CHP-021753                          12/19/2013
                      EDIS v4.3 SR2             CHP-022198                          3/20/2014
                      EDIS v4.4 SR2             CHP-022199                          3/20/2014
                      EDIS 2014 R1              CHP-023063                          6/5/2014
                      EDIS 2014 R1 SR1          CHP-024045                          9/11/2014
                      EDIS 2015 R1              CHP-025338                          3/5/2015
                      EDIS v4.4 SR3             CHP-025549                          4/23/2015
                      EDIS 2015 R1 SR1          CHP-027925                          8/6/2015
                      EDIS 2015 R1 SR3          14.04.04.2788.MEDH.ED.01.1.160707   7/7/2016

               151.   Medhost received certification for the 2011 edition of electronic health record

    criteria for CPOE on the following dates for the below Enterprise software versions:

                                                         CHP             Certification
                             Software                Identification         Date
                      Enterprise 9.2               CHP-007159          1/19/2011
                      Enterprise v10.0             CHP-007760          8/4/2011
                      Enterprise 10.0.01           CHP-007910          12/1/2011
                      Enterprise version 10.1      CHP-007546          2/2/2012
                      Enterprise v11               CHP-009004          7/12/2012
                      Enterprise v11.1             CHP-009408          9/20/2012

               152.   Medhost received certification for the 2014 edition of electronic health record

    criteria for CPOE on the following dates for the below Enterprise software versions:

                                                                                            Certification
                              Software                       CHP Identification                Date



    1
        This version did not include certification for section 170.306(a).
                                                        49

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 61 of 106



                      Enterprise v12             CHP-019337                          5/2/2013
                      Enterprise v12             CHP-019567                          6/13/2013
                      Enterprise v12             CHP-021296                          11/14/2013
                      Enterprise v12.0 & v3.0    CHP-021298                          11/14/2013
                      Enterprise 2014 R1         CHP-022018                          2/20/2014
                      Enterprise 2014 R1         CHP-022017                          2/20/2014
                      Enterprise 2014 R1         CHP-022966                          5/19/2014
                      Enterprise 2014 R1         CHP-022965                          5/19/2014
                      Enterprise 2014 R2         CHP-023895                          8/28/2014
                      Enterprise 2014 R1         CHP-023897                          8/28/2014
                      Enterprise 2014 R2         CHP-023891                          8/28/2014
                      Enterprise 2014 R1         CHP-023893                          8/28/2014
                      Enterprise v12             CHP-023890                          8/28/2014
                      Enterprise v12 and v3      CHP-023889                          8/28/2014
                      Enterprise 2014 R2 SR3     CHP-025317                          2/26/2015
                      Enterprise 2014 R2 SR4     CHP-027640                          6/25/2015
                      Enterprise 2014 R2 SR4     CHP-027642                          6/25/2015
                      Enterprise 2015 R1         CHP-028401                          11/12/2015
                      Enterprise 2015 R1 SR1     CHP-028970                          12/30/2015
                      Enterprise 2015 R1 SR1     CHP-028971                          12/30/2015
                      Enterprise 2015 R1 SR2     CHP-029180                          3/3/2016
                      Enterprise 2016 R1         14.04.04.2788.MEDH.16.01.1.160616   6/16/2016
                      Enterprise 2016 R1 SR1     14.04.04.2788.MEDH.CO.01.1.161006   10/6/2016

                              (a)      Medhost’s Software Failed to Enable Users to Create Medication
                                       Orders Accurately

               153.   Medhost’s EHR technology is made up of many separate software applications,

    which are supposed to work together as a single integrated system. Several of the Medhost

    applications can be used by providers to place medication orders and comprise the CPOE

    functionality to which Medhost certified and for which users attested to Meaningful Use. Those

    applications included the Java-based Clinical View portal (“ClinView”), the web-based

    “PhysDoc” module, the Clinical Reconciliation module (“ClinRec”), and the Pharmacy module

    (“GUI”). During the time period relevant to this Complaint, physicians and nurses at the CHS

    Medhost hospitals primarily used PhysDoc and ClinView to enter medication orders into the

    Medhost system.
                                                       50

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 62 of 106



               154.   As explained below, Medhost’s EHR software is incapable of recording

    medication orders in an accurate and reliable manner, as required for certification as certified

    EHR technology, because medication orders recorded through ClinView often do not reflect the

    order the doctor intended to enter, such as by containing a different dose, a different time for

    administration, or even a different medication altogether. Because the software did not reliably

    enable users to record accurate medication orders, it was ineligible for certification for CPOE.

                                    (i)     Medhost Software Miscalculates IV Drip Rates in Orders
                                            for Medications Dosed Based on the Patient’s Weight

               155.   Under certain circumstances, the ClinView module fails to calculate and record

    the dose for weight-based medications accurately. Once circumstance where this occurs is when

    the software calculates a dosage for weight-based medications requiring a “drip-rate”—the

    measurement of rate at which medications are to be administered through an intravenous (IV)

    drip.

               156.   On learning of this flaw in the system, CHS instructed its pharmacists not to rely

    on the Medhost EHR’s drip-rate calculations, and to instead manually calculate a new rate. That

    manual calculation obviated the purpose of CPOE for medications administered intravenously.

    Nevertheless, CHS continued to attest to the CPOE MU measure.

                                    (ii)    Medhost Software Miscalculates Weight-Based Doses
                                            Using Incorrect Medication Information

               157.   Under certain circumstances, the ClinView application also miscalculates the dose

    ordered by the user due to a medication name mismatch in its weight-based dosing window. The

    issue can occur when a doctor utilizes the module to calculate the dose for a weight-based

    medication. After the doctor enters the name of the desired medication, the ClinView application

    calculates the dosage for an entirely different medication.


                                                      51

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 63 of 106



               158.   On May 5, 2014, following a training associated with the rollout of the Medhost

    software updates, the Director of Pharmacy Teresa Stines at CHS’s DeTar Healthcare System

    alerted CHS’s software deployment team to the problem: “I tried out the weight based dosing

    and got some scary results. Please see the screen shots I have attached. It is not always pulling

    the right drug for the dosing, if [sic] fact it is wrong more that [sic] it is right. Is this a known

    issue?”

               159.   The Director of Pharmacy illustrated two separate instances of the issue through

    screenshots attached to her email. One screenshot showed a medication order entry for the drug

    Clindamycin Phosphate. The other screenshot showed an entry for the drug Cefazolin Sodium.

    However, both screenshots revealed that the weight-based dosage feature had pulled the wrong

    medication, Gentamicin Sulfate, for the calculation. Again, despite the inability of the software

    to record medication orders accurately, CHS continued to attest to the CPOE measure.

                                    (iii)   Medhost’s Software Records Incorrect Medication
                                            Administration Instructions When Users Select Its “Send
                                            Dose Now” Function

               160.   Medhost provided a “Send Dose Now” checkbox in the ClinView order entry

    window that doctors could select while making a medication order. The purpose of the checkbox

    was so physicians could indicate that they wanted the medication to be immediately delivered to

    the patient. However, the “Send Dose Now” checkbox did not, in fact, create medication orders

    designated for immediate delivery, but instead "the system defaults" to a normal order delivery at

    the next "scheduled frequency."

               161.   For example, if a physician entered a medication order to be administered every

    three hours, and checked the “Send Dose Now” checkbox, the Medhost software created an order

    for the medication specifying administration of the medication every three hours, with the first


                                                     52

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 64 of 106



    dose scheduled to be delivered three hours in the future. The tool therefore did not trigger the

    immediate administration of a dose as the physician had intended. Physicians who relied on the

    tool for that purpose were at risk of unwittingly delaying treatment.

               162.   CHS and Medhost became aware of this issue no later than April 2014. Yet,

    Medhost was unable to fix the flaw. Despite being flagged as “high priority” and “impacting all

    sites,” Medhost did not even disable the feature until the end of July 2014, allowing providers to

    attempt to use a broken feature for medication ordering for over four months without notifying

    them of the problems with the ordering mechanism. An August 2014 issue log reported the issue

    was resolved by disabling the broken feature, stating: “Send Dose Now is disabled with sites

    trained to not use button.”

               163.   CHS was no less culpable. Rather than disable the broken feature on its own,

    CHS instructed doctors to either call the pharmacy to clarify their orders, or to enter two separate

    orders for the medication thereby circumventing the requirement of placing medication orders

    through the electronic health records system.

               164.   In May 2014 and August 2014, Medhost obtained re-certification of the CPOE

    criterion even though, as reflected above, its CPOE functionality was incapable of accurately

    recording medication orders entered using the Send Dose Now feature.

                                   (iv)   Medhost Software Miscalculates Weight-Based Medication
                                          Doses Using Static Clinical History Profile Data

               165.   Medhost’s EHR software did not reliably calculate correct medication doses

    based on the patient’s weight, body surface area (“BSA”), or creatinine (“CrCl”) levels. The

    EHR uses information from the patient’s Clinical History Profile (“CHP”) to determine the

    weight, BSA, and CrCl used in the dosage calculation. Providers typically complete the CHP

    when the patient is admitted to the hospital.

                                                    53

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 65 of 106



               166.   Over the course of an inpatient stay, a patient’s measurements can change

    significantly, often enough to yield relevant changes in medication dosage. When a hospital

    takes new measurements from the patient, Medhost’s software will save the new measurements

    in the EHR but will not update the information in the patient’s CHP.             Even though the

    information in the CHP is no longer current for the patient, the software will continue to use the

    CHP to calculate the patient’s medication dosages.

               167.   Consequently, a patient who suffers weight loss or declining renal function while

    in the hospital (or a newborn who gains weight while in the hospital) is at risk of receiving

    medications at doses the EHR calculated based on his or her condition upon admission.

    Moreover, if a patient were readmitted, unless a nurse intervened, the EHR would administer

    drugs based on the historical CHP in the patient's chart. Patients who receive such doses may be

    at risk of significant overdosing or under dosing.

               168.   By at least July 2014, CHS flagged this issue for Medhost. Medhost responded

    that the issue would be "addressed in the Pharmacy experience which is now in the high level

    planning process."       Medhost continued that "[o]nce timeline is available, Medhost will

    communicate with CHS." In other words, despite learning of the risk of patients receiving a

    miscalculated drug does, Medhost did nothing to remedy the issue.

               169.   This miscalculation risk continued to months. For example, in an October 28,

    2014 Physician Tools User Group call at CHS, the participants discussed that when a patient's

    weight was updated in the vitals module, the weight was not updated in the CHP and caused

    weight-based dosing to be incorrect.




                                                     54

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 66 of 106



               170.   In the interim, despite being aware that the software did not record medication

    orders accurately, CHS continued to attest to the CPOE measure and Medhost continued to

    obtain re-certification for the CPOE criteria.

                                    (v)    Medhost’s Software Is Incapable of Creating Accurate
                                           PRN Medication Orders

               171.   Medhost’s EHR is also incapable of reliably recording PRN medication orders—

    orders to be administered “as needed.” When a physician enters a PRN medication order that

    includes an expiration time for the order and a maximum number of doses, Medhost’s EHR may

    terminate the order early (i.e., prior to the expiration date the physician chose) or fail to display

    the maximum number of doses the physician had set.

               172.   On July 30, 2014, the Director of Pharmacy Services David M. Dirig at CHS’s

    Fallbrook Hospital wrote to CHS Pharmacy Informatics Manager Jeannie Bennet and others

    regarding “flawed PRN frequencies in CPOE [that] represent a medication safety risk.” In the

    email, the Director used the example of an order for 6mg of the migraine medication Sumitriptan

    to illustrate a flaw that"[a]ppear[ed] to be built into all PRN frequencies." The Director explained

    than an order for Sumitriptan is to be administered every hour as needed for migraine headache,

    but with a maximum of 3 doses to be administered over not more than 12 hours. The Director

    warned that the Medhost EHR was incapable of recording the order as the provider had

    intended—depending on how the provider entered the order into the Medhost EHR, the software

    would either create an order for a maximum of 3 doses to be administered over not more than 3

    hours, or for unlimited doses to be administered over not more than 12 hours. “Either way,” the

    Director wrote, “the order as entered would not actually reflect what was ordered.”

               173.   Medhost acknowledged to CHS that the problem with PRN medication orders

    was a “limitation of the system.” Medhost refused to fix the problem, however, with one

                                                     55

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 67 of 106



    employee writing CHS that: “at some point nurses treating patients have to take some ‘clinical

    responsibility’ because [Medhost software] cannot be made fool proof.”            To the Relators’

    knowledge, Medhost had not corrected the problem as of late 2016, even though it continued to

    seek and received certification for the CPOE criterion through 2016.

                                     (vi)   Medhost’s Software Creates Inaccurate Medication Orders
                                            If Physicians Use Medhost’s “Physician’s Favorites”
                                            Feature to Create Orders

               174.   The Medhost EHR also does not reliably create medication orders entered using a

    feature called “Physician Favorites,” which allows doctors to create a list of the medication

    configurations they commonly order from the hospital formulary. The purpose of the list is to

    allow the doctor to quickly select and order the configurations they tend to use in practice. The

    feature contains a flaw, however, that in certain circumstances can cause the hospital pharmacy

    to fill the order incorrectly.

               175.   When a doctor sets a Physician Favorite, the EHR displays a description of the

    medication (type, dose, route, etc.) in the doctor’s Physician Favorites list and assigns it a

    “mnemonic” text string that corresponds to the text string used for the medication in the

    hospital’s formulary. The EHR uses the text string to record and place orders for the Physician

    Favorite. When a doctor enters an order, the EHR compares the mnemonic string to the list of

    strings in the formulary database, and places an order for the resulting match.

               176.   Medhost does not connect the information displayed to the provider in the

    Physician Favorite list with the hospital formularies.       Hospitals can, and do, change the

    configuration of drugs in the formulary without changing the mnemonic code that identifies the

    drugs on the formulary. In such instances, the EHR will display the original configuration to the

    doctor on the Physician Favorite list. When the doctor orders the medication, however, the EHR


                                                     56

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 68 of 106



    will match the text string to the text string in the formulary for the new configuration. The EHR

    will trigger an order for the new configuration, not the configuration that the doctor intended to

    order.     The EHR does not alert the doctor to the change in the formulary or remove the

    medication from the Physician Favorite tool.

               177.   This problem occurs most commonly when a hospital changes a medication’s unit

    of measurement (e.g., from grams to milligrams). At CHS, the text string for a medication will

    not change when a hospital changes the unit of measurement for the medication in its formulary.

    If a doctor enters an order for such a drug using the EHR’s normal CPOE interface, the interface

    will display the new unit of measurement, alerting the doctor to the change. If the doctor uses

    the Physician Favorite tool, however, the EHR will display the old unit of measurement. The

    dose the doctor orders, therefore, will be based on an incorrect unit of measurement for the drug.

    Making the problem especially dangerous, the pharmacist who fills the order may have no reason

    to suspect that the dose is based on an outdated unit of measurement.

               178.   On or about June 30, 2014, Medhost had originally informed CHS Manager

    Pharmacy Informatics Cliff Kolb that if a UOM was altered on the formulary, the "system would

    not allow a change if a drug using that UOM was saved in a physician's favorites." However,

    once implemented Mr. Kolb learned from pharmacists that "they changed the UOM and [the

    system] did not alert them of favorites." In fact, pharmacists "had received order with the

    incorrect UOM attached."

               179.   The danger posed by this flaw was amplified by a series of flawed formulary

    changes, described below, which CHS implemented at its hospitals during the same timeframe

    and that included many unit of measurement changes.




                                                    57

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 69 of 106



                                    (vii)   Medhost’s Software Does Not Enable Users to Verify That
                                            the Medications they Administer Accurately Reflect the
                                            Medication Order for the Patient

               180.   Medhost has certified Medhost Enterprise since June 2013 to 45 C.F.R.

    § 170.314(a)(16), which requires that the EHR technology enable users to electronically verify

    before administering a medication that the patient, medication, dose, route, and time of

    administration all match the medication order, using assistive technology that provides

    automated information on each parameter being matched. Contrary to that requirement, under

    certain circumstances the Medhost EHR does not provide automated information to users that the

    dose being administered does not match the dose on the medication order.

               181.   The lack of functionality applies to medication orders for partial doses or doses

    that are less than a dispensable quantity.       Hospitals fill many orders using an automated

    dispensing machine, such as the Pyxis system used at CHS. Pyxis dispenses medications based

    on the dose information in the hospital’s formulary. When a doctor uses Medhost’s CPOE

    function to order a “partial dose” of a medication—a dose that is less than the full dose found in

    the hospital’s formulary (e.g., 50 mg of drug X, when 100 mg is the smallest dose available from

    the Pyxis machine)—the Pyxis machine will fill the order for the full dose unless a pharmacist

    intervenes. When Pyxis fills an incorrect dose, Medhost’s eMAR system will not provide

    automated information to the user that the dose being administered does not match the dose on

    the medication order, potentially causing the user to overdose the patient.

               182.   In May 2014, a nurse at the Cedars Park facility alerted CHS information systems

    personnel of an incident where a physician entered an order for Xaralto 10 mg into Enterprise.

    However, because the physician put 1 tablet as the dose, Pyxis dispensed "Xaralto 1 mg". The

    nurse described the incident as a "near miss." While this issue occurred with a specific patient's


                                                     58

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 70 of 106



    medication, the nurse explained that the dosage error "occured [sic.] on multiple occasions

    prior."

               183.   Not all patients were so lucky. The automated dispensing flaw led at least one

    CHS patient to receive an overdose of Potassium. The error occurred in CHS’s Lake Wales,

    Florida facility and was raised by the hospital’s pharmacy director during an October 16, 2014

    issues call with Medhost.

               184.   In January 2014, CHS learned of another lack of functionality in the eMAR

    system that caused risks of overdosing automatically dispensed drugs.          Specifically, with

    injectable drugs, the eMAR "recorded [the medication] as administered after the first unit is

    scanned regardless of the number of individual vials or units that comprise the dose." Per Pam

    Rudisill, the Chief Nursing Officer at CHS, this flaw raised the possibility that the "number of

    administered doses recorded on the eMar is different than actually administered."           Thus,

    providers were instructed to double-check multi-dose medication administration.

                                    (viii)   Medhost’s EHR Fails to Run Drug Interaction Checks on
                                             Medications Ordered at Discharge

               185.   Providers at CHS hospitals perform a clinical reconciliation at discharge

    (“discharge reconciliation”), in which the provider can use CPOE to continue or discontinue

    medications that the patient received during the inpatient stay and can restart any home

    medications that had been discontinued upon admission.

               186.   The placement of an order for medication at discharge is a new order. Medhost’s

    EHR software, however, does not perform drug interaction checks when a provider continues or

    discontinues a medication during discharge reconciliation.       Although it is appropriate for

    Medhost to screen for drug-drug or drug-allergy contraindications at the time a provider creates a

    medication order, the decision to configure the medication at discharge as a continuation of a

                                                     59

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 71 of 106



    medication, rather than to enter a new order using Medhost’s CPOE function, meant that the

    EHR did not indicate drug-drug or drug-allergy contraindications to the provider as required.

                                    (ix)   Additional Issues With Medhost's CPOE Function That
                                           Posed Serious Patient Harm

               187.   On March 17, 2014, CHS Manager of Pharmacy Informatics Cliff Kolb

    complained of an issue at the Shelbyville facility where unstructured medication orders entered

    into the MedRec module (a subset of the ClinRec module) did not cross over to pharmacy.

    However, neither the physician nor the pharmacy were informed by the EHR that the

    unstructured data medication orders would not be sent to the pharmacy. The Manager

    emphasized that there would be "missing medications if this is not told to the physicians." Thus,

    unbeknownst to a physician, a patient may not be administered an ordered medication; an

    oversight that could cause serious patient harm.

               188.   Similarly, on May 15, 2015, IS Clinical Informaticist Amanda Dorr at DeTar

    Healthcare System in Victoria, Texas complained that "all types of orders" "never made it

    through" when a provider entered an order in Medhost’s Order Management application. When

    a provider entered the order, it appeared to function as required because the provider would see

    the entered order and would not receive any error message. Even though the facility "pushed the

    entire week through all of our issues" caused by the Order Management failure, Dorr wrote that

    the facility could not continue to use the Order Management system due to concerns for "the

    safety of our patients."

               189.   In addition, on May 8, 2014, Las Cruces facility complained that the CPOE "build

    team" was improperly building IV packs because (1) they did not match the hospital's IV packs

    and (2) they were removing default frequency information from the build. The Director of

    Pharmacy noted that the latter issue was a "patient safety issue."

                                                     60

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 72 of 106



               190.   CHS and Medhost knew that the inadequate CPOE functions at the CHS hospitals

    were creating patient safety issues. DeTar’s Teresa Stines, for example, complained to Cliff

    Kolb, Jeannie Bennet, and Dale Resch during a facility visit that pharmacists at her facility had

    to revise approximately 40% of medication orders entered electronically using Medhost, due to a

    multitude of errors. She noted in particular that pharmacists were "constantly needing to change

    CPOE physician orders here due to med selection errors, non-formulary issues, substitution, med

    rec/home med issue, free text meds (about 20% of orders reported by pharmacist staff), comment

    instructions regarding dose, time, adm, etc., etc." This issue was formally assigned to Connie

    Senseney to resolve in CHS's issue logs.

                      3.    To Increase Its Meaningful Use Measures, CHS Developed Flawed
                            Order Sets That Prevented Users From Recording Medication Orders
                            Accurately and Reliably Using CPOE

               191.   Under the 2011 and 2014 Meaningful Use regulations, EHRs were required to

    have CPOE functionality that enabled users to electronically record, store, retrieve, and modify

    medication orders, laboratory orders, and radiology/diagnostic imaging orders.

               192.   CMS’s Stage 1 and Stage 2 objectives for CPOE, articulated in 42 C.F.R. §

    495.6(d) – (g) and 42 C.F.R § 495.6(j) – (m) was to “Use CPOE for medication orders directly

    entered by any professional who can enter orders into the medical record per State, local and

    professional guidelines.”

               193.   In 2013 and 2014, CHS became concerned that it would not be able to deploy

    Medhost Enterprise’s CPOE functionality in time for its hospitals to meet the measures

    necessary to attest to Meaningful Use. In an attempt to deploy the functionality more quickly

    and expedite the hospitals’ use of it, CHS created a uniform electronic order set that it deployed




                                                   61

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 73 of 106



    across all hospitals running Medhost Enterprise. Physicians were supposed to use the uniform

    order set to enter orders using Medhost’s CPOE function.

               194.   An order set is a curated selection of related medication and other orders—

    designed for application in a specific scenario—that a doctor can select quickly and easily using

    CPOE. When used correctly, order sets can reduce medical errors, standardize hospital

    procedures, and increase efficiency. CHS and Medhost intended to use order sets as the primary

    method for medication ordering in the Medhost EHR.

               195.   During the deployment of the Medhost EHR software, CHS rolled out a series of

    electronic order sets that doctors were supposed to use with the EHR software. To make the

    order sets function with Medhost’s CPOE, each medication order embedded within an order set

    must be mapped to the hospital formulary using mnemonics. To create the mapping for the order

    sets, CHS started from templates created by Zynx Health, a source of evidence-based clinical

    information. CHS modified the Zynx templates, and then mapped them to each hospital’s

    formulary using a software tool created by Medhost.

               196.   The CHS process failed to account for the numerous differences in hospital

    formularies within CHS, and CHS did not designate pharmacists or others with subject-matter

    expertise to oversee the mapping process. As a result, order sets were rolled out to the hospitals

    with a large volume of dangerous errors in the mapping of individual orders. CHS Pharmacy

    Informatics Manager Jeannie Bennet was intimately involved in the implementation of the

    flawed order sets and aware of the patient safety issues order sets would pose due to her role as

    trainer for hospital Directors of Pharmacy.

               197.   CHS and Medhost learned of the issues almost immediately, as members of the

    CHS implementation team and practitioners at individual hospitals began to flag concerns. For


                                                    62

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 74 of 106



    example, on September 30, 2013, the deployment team at Heartland Regional Medical Center

    reported an issue that the “available pharmacy/formulary NDC code does not match the order set

    content.”

               198.    The order set issues occurred at other CHS sites as well. On March 10, 2014,

    CHS Manager of Pharmacy Informatics Cliff Kolb wrote to others on the CHS implementation

    team in an email with subject line: “Serious concerns on Order sets and model build.” The email

    detailed concerns from a review that Mr. Kolb had conducted of the build at the first six sites

    scheduled to go live with the new order sets:

                      Within a few minutes, we found some glaring issues. Zofran 4 mg was
                      mapped to the 40mg vial not the 4mg vial which could cause a 10 fold
                      overdose. When looking at the Hydromorphone and Morphine, they were
                      mapped to regular form when the mapping should have been preservative
                      free. With this brief review, it brought up red flags as to what else is out
                      there that we did not have time to find….

                      We are seeing this at the other 5 facilities as well…

                      We have been asking who is completing the quality review. We were told
                      today that the sets are being reviewed by analyst not pharmacists. We have
                      concerns that this should only be done by clinical staff… However, [they
                      do] not currently have access to the order sets so they can review….

                      In the above example, the Zofran would never be in the Pyxis machines as
                      [described]…. [T]he nurse would not be able to get it and the pharmacist
                      will have to edit it. This would not meet MU standards.

                      We need someone to go in and clean up the [model order set] before more
                      sets are pushed to any sites…. Based on comments from Medhost folks,
                      this is a one to two week process to clean up. I am not sure we have time
                      but it is a patient safety issue.

               199.   Two weeks later, CHS had not begun to address the issue. On March 25, CHS

    Director of Pharmacy Operations, Jerry Reed, sent an email expressing his alarm to CHS Vice

    President of Operations Support Tim Park:

                      I am not sure where my authority stops, but will push forward until I get a
                      cease and desist.
                                                       63

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 75 of 106



                      -None of my pharmacists are involved in the build.

                      -Most of the issues go back to the [model order set]. I think urgent cleanup
                      is necessary. The order sets are being mapped out of the [model order set]
                      to the facilities and until this is cleaned up we are going to continue to
                      experience this…. Examples: Acetaminophen suppositories is mapped to
                      orally. Normal saline is asking for weight based dosing.

                      -Pharmacists must oversee the drug component of the [model order set]
                      and model build.

                      -Cliff and Jeannie have been bringing up these issues for the last month.

                      -The readiness documentation does not even include pharmacy directors
                      because the deployment team still seems to think that pharmacy had
                      nothing to do with CPOE.

               200.   In response to the email, Mr. Park acknowledged that the issue created fertile

    ground for patient harm, writing that “These medication sentences have a very high potential

    for causing a catastrophic event.”

               201.   Despite acknowledging the danger of rolling out flawed order sets, however, CHS

    continued to push forward with deploying the order sets at additional hospitals in advance of the

    2014 attestation period with its intended purpose being to collect Meaningful Use subsidies for

    those hospitals.     CHS did not assign pharmacists or subject-matter experts to correct the

    problems it had identified at the hospitals that had already received the order sets. Instead, CHS

    instructed non-clinical staff, including Relator Neiman, to resolve the safety issues while

    prioritizing strategies to meet the target dates for implementation to ensure that CHS would

    receive Meaningful Use incentive payments.

               202.   The inaccurate mapping between order sets and hospital formularies prevented

    physicians from creating orders safely, accurately, and reliably using the CPOE function.

    Because there was no assurance that the medication information in the order sets would match




                                                      64

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 76 of 106



    the medication information that pharmacists used to fill medication orders, CHS’s hospitals did

    not meet the objective of using CPOE for medication orders.

               C.     Medhost Enterprise Software Did Not Enable Users to Perform Clinical
                      Decision Support

               203.   Under the 2014 edition criteria, 45 C.F.R. § 170.314(a)(8) provides that complete

    EHRs or EHR Modules must include the capability to "[e]nable a limited set of identified users

    to select (i.e., activate) one or more electronic clinical decision support interventions (in addition

    to drug-drug and drug-allergy contraindication checking) based on each one and at least one

    combination of the following data: (A) Problem list; (B) Medication list; (C) Medication allergy

    list; (D) Demographic; (E) Laboratory tests and values/results; and (F) Vital signs."

               204.   Medhost received certification for the 2014 edition of electronic health record

    criteria for Clinical Decision Support ("CDS") on the following dates for the listed software

    versions:

                                                                                    Certification
                             Software                 CHP Identification               Date
                      Enterprise v12            CHP-019337                          5/2/2013
                      Enterprise v12            CHP-019567                          6/13/2013
                      Enterprise v12            CHP-021296                          11/14/2013
                      Enterprise v12.0 & v3.0   CHP-021298                          11/14/2013
                      Enterprise 2014 R1        CHP-022018                          2/20/2014
                      Enterprise 2014 R1        CHP-022017                          2/20/2014
                      Enterprise 2014 R1        CHP-022966                          5/19/2014
                      Enterprise 2014 R1        CHP-022965                          5/19/2014
                      Enterprise 2014 R2        CHP-023895                          8/28/2014
                      Enterprise 2014 R1        CHP-023897                          8/28/2014
                      Enterprise 2014 R2        CHP-023891                          8/28/2014
                      Enterprise 2014 R1        CHP-023893                          8/28/2014
                      Enterprise v12            CHP-023890                          8/28/2014
                      Enterprise v12 and v3     CHP-023889                          8/28/2014
                      Enterprise 2014 R2 SR3    CHP-025317                          2/26/2015
                      Enterprise 2014 R2 SR4    CHP-027640                          6/25/2015
                      Enterprise 2014 R2 SR4    CHP-027642                          6/25/2015
                      Enterprise 2015 R1        CHP-028401                          11/12/2015
                                                       65

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 77 of 106



                      Enterprise 2015 R1 SR1   CHP-028970                          12/30/2015
                      Enterprise 2015 R1 SR1   CHP-028971                          12/30/2015
                      Enterprise 2015 R1 SR2   CHP-029180                          3/3/2016
                      Enterprise 2016 R1       14.04.04.2788.MEDH.16.01.1.160616   6/16/2016
                      Enterprise 2016 R1 SR1   14.04.04.2788.MEDH.CO.01.1.161006   10/6/2016

                      1.     Medhost’s Enterprise Software Cannot Reliably Perform CDS or
                             Track When and Whether CDS Rules Have Been Enabled

               205.   CDS is a process designed to aid directly in clinical decision making, in which

    characteristics of individual patients are used to generate patient-specific interventions,

    assessments, recommendations, or other forms of guidance that are then presented to a decision-

    making recipient or recipients that can include clinicians, patients, and others involved in care

    delivery.

               206.   ONC has identified CDS as a key functionality of health IT that—when

    effectively applied—contributes to “improved care quality, enhanced health outcomes, error and

    adverse event avoidance, improved efficiency, reduced costs, and enhanced provider and patient

    satisfaction.” ONC, Clinical Decision Support: More than Just ‘Alerts’ Tipsheet, July 2014

    (noting that “Congress included CDS as a centerpiece of the Medicare and Medicaid EHR

    Incentive Programs”).

               207.   Medhost’s Enterprise software did not meet the above requirements, as Medhost’s

    software is unable to reliably perform CDS or track when and whether CDS rules have been

    enabled. Medhost knew of this failing, but certified its software as to the CDS criteria regardless,

    and re-certified this criteria despite knowing about ongoing problems with CDS.

               208.   One instance of Medhost’s failing CDS functionality came to Relator Neiman’s

    attention in September 2014. CHS learned that the CDS rules in Enterprise had completely

    stopped functioning around August 14, 2014, while many hospitals that were in the middle of

    their attestation periods. When Relator Neiman did a spot check to determine which attesting
                                                      66

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 78 of 106



    hospitals were having this problem, he discovered that the CDS rules were not working at any of

    the 17 hospitals he checked. These sites were using two releases of Enterprise v12, certified on

    June 13, 2013 (CHP-019567) and November 14, 2013 (CHP-021296), both certified as to CDS

    under MU Stage 2.

               209.   The CDS function did not work in any of the above facilities, and likely many

    more, and yet Medhost certified to that criterion repeatedly, often inheriting its previous false

    certification into the new version of Enterprise.

               210.   Relator Neiman created a help desk ticket with Medhost to notify Medhost of the

    problem and followed up on September 18, 2014. CHS discussed the problem with Medhost

    during a weekly/biweekly issue call on September 30, 2014. Medhost acknowledged the issue on

    the call and informed CHS that Medhost would have to re-build the CDS code to resolve the

    problem. CHS Director of IS at Quorum Health Tim Moore reached out to Relator Neiman on

    several occasions throughout 2014 to address the reporting and rule "not firing" issues. Medhost

    further explained that the CDS interventions would not fire until the re-build was complete.

               211.   Medhost “re-built” the CDS functionality in its EHR software in early October

    2014, and CHS again planned to rely on the functionality for its second wave of attestation,

    which began its reporting period October 1, 2014.

               212.   However, CDS continued not to function. In late October 2014, CHS management

    learned that Medhost’s CDS functionality was still failing.          On October 28, 2014, a CHS

    Regional Clinical Informaticist, Phyllis J. Fawcett, who had previously reported CDS issues at

    hospitals during the first wave, emailed the implementation team regarding further failures:

                      I have another one. I was at [the hospital in] Selmer today and we took a
                      look at the CDS rules to make sure they were running. I am seeing a
                      similar scenario as I saw at [the hospital in] Lexington a few weeks ago. It
                      appears, according to the Acknowledgement report that the triggers

                                                        67

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 79 of 106



                      stopped firing on the 15th. However, according to the status report the
                      rules have not been active for 0 of 28 days….

               213.   On November 20, 2014, in an email responding to an issue ticket submitted by a

    CHS hospital, Medhost confirmed that the CDS reporting problem was a known issue with the

    software, and that it affected facilities beyond just CHS. Medhost also indicated that it had no

    estimate for when it could provide a fix:

                      [T]he issue you are having with established Clinical Decision Support
                      rules not showing on the ODS Acknowledgement Report is a known issue.
                      This has happened on several other facilities in our system. . . .

                      There is a program fix that is being developed and tested to resolve this
                      issue, PIF 1711. At this time, we do not have an ETA on the completion
                      and implementation of this PIF, but we do believe that it will be soon. We
                      apologize for any inconvenience this has caused for you as you are
                      working through your Attestation.

               214.   Leading up to and during this time period, Medhost certified the following

    versions of its software as to CDS on the following dates:

                            Enterprise v12.0 and v3.0 on November 14, 2013, CHP-021298

                            Enterprise 2014 R1 on February 20, 2014, CHP-022018

                            Enterprise 2014 R1 on February 20, 2014, CHP-022017

                            Enterprise 2014 R1 on May 19, 2014, CHP-022965

                            Enterprise 2014 R1 on May 19, 2014, CHP-022966

                            Enterprise 2014 R2 on August 28, 2014, CHP-023895

                            Enterprise 2014 R1 on August 28, 2014, CHP-023897

                            Enterprise 2014 R2 on August 28, 2014, CHP-023891

                            Enterprise 2014 R1 on August 28, 2014, CHP-023893

                            Enterprise v12 on August 28, 2014, CHP-023890

                            Enterprise v12 and v3 on August 28, 2014, CHP-023889


                                                      68

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 80 of 106



               215.   As of late December 2014, Medhost still had two software enhancement requests

    (PIRs) open to address the issue, even though it had again recently certified its Enterprise

    software as to CDS, on August 28, 2014. Vice President and Deputy CIO Jay Skibinski

    maintained the PIR list from November 2014 onward. Mr. Skibinski was in charge of prioritizing

    the requests, where enhancement requests to fix CDS reporting were prevalent.

                      2.     CHS Falsely Attested That It Met Meaningful Use Requirements for
                             Clinical Decision Support

               216.   The 2011 edition of Meaningful Use required that EHRs must "[i]mplement

    automated, electronic clinical decision support rules (in addition to drug-drug and drug-allergy

    contraindication checking) based on the data elements included in: problem list; medication list;

    demographics; and laboratory test results." The EHR must also “[a]utomatically and

    electronically generate and indicate in real-time, notifications and care suggestions based upon

    clinical decision support rules. 45 C.F.R. § 170.306(c).

               217.   As discussed above, the 2014 edition of Meaningful Use required that EHRs must

    "[i]mplement automated, electronic clinical decision support rules (in addition to drug-drug and

    drug-allergy contraindication checking) based on the data elements included in: problem list;

    medication list; demographics; and laboratory test results." 45 C.F.R. § 170.314(a)(8).

               218.   For Stage 1, CMS required that Eligible Professionals and Eligible Hospitals

    "Implement one clinical decision support rule relevant to specialty or high clinical priority along

    with the ability to track compliance with that rule." See 42 C.F.R. § 495.6(d)-(e).

               219.   For Stage 2, CMS stated that Eligible Professionals and Eligible Hospitals must

    “[i]mplement five clinical decision support interventions related to four or more clinical quality

    measures at a relevant point in patient care for the entire EHR reporting period. Absent four

    clinical quality measures related to an EP’s scope of practice or patient population, the clinical

                                                     69

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 81 of 106



    decision support interventions must be related to high-priority health conditions.” See 42 C.F.R.

    § 495.6(d)-(e).

               220.   CHS falsely attested that it met the CDS Meaningful Use measures for Stage 1

    and Stage 2. In Stage 1, CHS did not implement Medhost’s rules engine and falsely attested to

    Meaningful Use compliance on the basis of a software feature that resembled, but was not, a

    CDS intervention. In Stage 2, CHS attested to Meaningful Use compliance despite the fact that

    Medhost’s rules engine had not triggered CDS interventions during the reporting period. To

    conceal its failure to meet a core objective of the program, CHS took the position in its

    attestations that the static order sets it had built into the EHR met the requirements for CDS,

    when it knew they did not.

                            (a)    CHS’s Use of the Fall Risk Assessment Failed to Meet the CDS
                                   Objective in MU Stage 1

               221.   For a CDS rule to count towards Meaningful Use, it needed to be automated,

    based on patient specific data, and provide a notification. The CDS “workaround” that CHS

    hospitals relied on to attest during MU1 did not complete any of these functions. In Medhost’s

    EHR, the CDS rules engine is designed for use with the CPOE application. Because CHS did

    not implement CPOE in Stage 1 (it was not yet a core objective), it did not program a single CDS

    intervention using Medhost’s rules engine.        Despite not using the CDS functionality in

    Medhost’s EHR, CHS attested to meeting the objectives and measures for CDS on the basis of a

    “workaround,” which was to cite an unrelated function of the EHR—a protocol that nurses used

    to perform fall risk assessments—as though it were a CDS.

               222.   In late 2011 or early 2012, CHS distributed a guide to instruct nurses on the

    workflow for the fall risk “intervention.” Under the workflow, nurses were responsible for

    identifying the need to perform a fall risk assessment on the patient. Once the nurses decided to

                                                    70

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 82 of 106



    perform the assessment on a patient, they were to select the assessment in the EHR, which would

    display a series of quantitative questions based on a common method to calculate fall risk. The

    nurses were to assign a score for each question. At the end of the assessment, the software

    would automatically total the scores, producing a single “Fall Risk” score that it displayed in an

    output field entitled “Score Total.”

               223.   At this point, in a step CHS’s fall risk intervention guide described as “mandatory

    for the Meaningful Use requirements,” the software would display a window in which the nurse

    would select a checkbox indicating whether the Score Total was more or less than 25. If the

    nurse selected the checkbox for a score less than 25, the assessment ended. If the nurse selected

    the checkbox for a score over 25, the EHR prompted the nurse to select a care plan for the patient

    from a list (one of the plans the nurses could choose was “fall risk”). The nurse then had to

    manually add the care plan to the patient’s profile.

               224.   Thus, CHS fabricated a CDS “intervention” by creating an extra, unnecessary step

    in the nurses’ workflow concerning fall risk assessments, indicating to the nurse that a score

    under 25 did not require further action while a score over 25 warranted the selection of a care

    plan.

               225.   This fall risk “intervention” did not meet the requirements for the CDS measure,

    as it did not use computable information from the problem list, medication list, demographics, or

    laboratory test results. Instead, all of the information used to determine a fall risk score came

    from the nurse manually entering data. Moreover, the fall risk “intervention” did nothing to

    improve the quality, safety, or efficiency of patient care. Because CHS’s workaround did not

    constitute a CDS rule under the Meaningful Use program, CHS did not meet the core objective

    and measure for CDS in Stage 1, and its attestations of Meaningful Use were false.


                                                      71

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 83 of 106



               226.   CHS knew that the fall risk assessment workaround did not meet the objective

    and measure for CDS. As one CHS employee explained:

                      For stage 1 we did not have any actual CDS rules built [in the Medhost
                      rules engine] because CPOE was not active. So, what we did was, we
                      used the Nursing Fall risk assessment within Pt care. When a nurse
                      completed the fall risk assessment then the assessment would prompt the
                      nurse to create a risk specific care plan based on the fall risk score.

               227.   In addition to the assessments not constituting “actual CDS rules” within the

    EHR, CHS knew that it lacked the ability to track providers’ compliance with the “intervention”

    in the assessments, which was also an objective required by CMS under MU1. The ability to

    track compliance with the CDS rule meant that hospitals were required to track not only how

    many times a CDS rule was executed creating a recommended care plan, but additionally how

    many times an Eligible Professional complied with the recommended care plan. For example, if

    a nurse performed 100 risk assessments and 40 of those had a risk score greater than 25, CHS

    should have been able to track how many times a nurse followed through on a care plan

    consistent with the risk.

               228.   On April 8, 2014, Lisa Fitts, CHS’s Clinical IS Team Lead—Physical Tools,

    emailed several CHS employees about their efforts to map the workaround to a CDS audit report,

    which would enable CHS to determine if the “intervention” was operative. In her email, Ms.

    Fitts wrote: “It does not sound like the care plan would be captured on a CDS audit report. I say

    this because I don’t know that a care plan can be designated as a CDS rule [in the rules engine].”

    CHS’s inability to track compliance with the CDS rules further demonstrates that CHS did meet

    the core objective and measure for CDS in Stage 1, and its attestations of Meaningful Use were

    false.




                                                    72

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 84 of 106



               229.   The CHS hospitals listed in Exhibit B attested during Stage 1 using this CDS

    workaround.

                             (b)    CHS’s Use of Static Order Sets Failed to Meet the CDS Objective
                                    in MU Stage 2

               230.   CHS developed five CDS interventions using Medhost’s rules engine in advance

    of the Stage 2 reporting period. Many of CHS’s hospitals were scheduled to have a 90-day

    attestation period from July 1, 2014 through September 30, 2014 with attestation occurring on

    October 1, 2014. At this wave of hospitals, the required five interventions had been programmed

    into the system.

               231.   As discussed in paragraphs 205–215 above, the CDS rules engine failed at CHS’s

    Medhost hospitals in the middle of this attestation period, around August 14, 2014.

               232.   Within its corporate offices, CHS acknowledged that it could not attest to meeting

    the core objective during the attestation period because its rules engine had been broken for

    much of it. In a September 24, 2014 email to CHS management, CHS Director of Information

    Systems Teri Mitchell wrote that “we can’t attest” if the CDS rules were not firing.

               233.   CHS, however, was unwilling to forego incentive payments for the hospitals, and

    decided to attest to meeting the CDS objective even though the hospitals had been incapable of

    using CDS for much of the attestation period. As in Stage 1, CHS turned to a “workaround” to

    support its attestations. The "workaround" was primarily developed by Director of IT Internal

    Audit and Compliance Kristi Meyer and Senior Manager of Physician Tools Tim Moore, while

    individuals such as CHS Senior Vice President and CIO Manish Shah, Director of Clinical

    Systems Gary Fritz, and Chief Medical Information Officer Anwar Hussain all were aware of the

    inability to reach the CDS objective and the proposed "workaround" plan. Ms. Meyer and Mr.

    Moore were aided in developing and implementing the CDS "workaround" by Director of

                                                      73

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 85 of 106



    Clinical Informatics Connie Senseney and Senior Director of Operations Meagan Strawhacker.

    Product Manager of Physician Tools Lisa Fitts worked directly with Relator Neiman to

    implement the Medhost Stage 2 product with a focus on the CDS "workaround." In this

    instance, CHS submitted attestations on the basis of static order sets. CHS selected five order

    sets that related to four or more clinical quality measures and treated them as CDS interventions

    for purposes of its attestations.

               234.   CHS’s order sets did not meet the requirements for CDS functionality. Unlike a

    CDS intervention, the content of the order sets was static and did not change or trigger alerts

    based on the patient’s problem list, medication list, demographics, vital signs, or lab results. The

    EHR also did not suggest particular order sets to providers based on patient information.

    Instead, providers had to choose the order sets manually from a wider list of available order sets

    in the system. Consequently, the order sets did not meet the objectives or measures for CDS.

               235.   On October 3, 2014, after the attestation period had ended, Relator Neiman was

    directed by CHS Senior Manager of IT Internal Audit and Compliance Kristi Meyer to ensure

    that the order sets were installed at the hospitals in the attestation wave:

                      Meagan and Connie agree that the [order set] extract is exactly what we
                      need as a starting point. We will use that extract for the Medhost hospitals
                      to validate we have 5 that apply for CDS Rules.

                      Can you help run these for us for every 7/1 [first wave] Stage 2 site?

               236.   On October 6, 2014, a week after the end of the reporting period for the hospitals,

    Ms. Meyer realized that several of the hospitals did not have the five order sets that they intended

    to use for attestation. She asked Relator Neiman to investigate.

                      [A]fter reviewing the evidence, we identified 8 hospitals that only had 3 of
                      the “approved” order sets active the entire time. Therefore, could your
                      team provide us with a listing of all active order sets from 7/1-9/30 for
                      those 8 hospitals? Based on your output, we will work with OPS to
                      determine the other order set to use for attestation.
                                                       74

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 86 of 106



               237.   Three weeks later, on October 30, 2014, Ms. Meyer sent another update regarding

    the issue, stating that the eight facilities mentioned were still in “limbo,” lacking sufficient order

    sets for attestation. She subsequently determined to add the fall risk assessment, which CHS had

    relied upon for Stage 1, as a final intervention. On November 1, 2014, wave 1 CHS hospitals

    submitted attestations to CMS using order sets.

               238.   The CHS hospitals listed in Exhibit B attested during the attestation periods

    discussed above using this CDS workaround.

               D.     Medhost Enterprise Failed to Meet Certification Requirements for e-
                      Prescribing

               239.   Enterprise did not meet the requirements for certification for electronic

    prescribing.

               240.   For 2014 edition software, certified EHR technology was required to “[e]nable a

    user to electronically create prescriptions and prescription-related information for electronic

    transmission in accordance with” two standards: NCPDP SCRIPT version 10.6 and RxNorm.

    45 C.F.R. § 170.314(b)(3). “The use of RxNorm as the sole vocabulary standard would entail its

    use to represent medications within an electronic prescription formatted according to the

    SCRIPT 10.6 standard.” 77 Fed. Reg. 54163, 54199 (Sept. 4, 2012).

               241.   Beginning on June 13, 2013, Medhost sought and received certification of

    multiple versions of Enterprise for the e-prescribing function:

    Software                  CHPL ID                                   Edition Certification
                                                                                Date
    Enterprise v12            CHP-019567                                2014    6/13/2013
    Enterprise v12            CHP-021296                                2014    11/14/2013
    Enterprise v12.0 &        CHP-021298                                2014    11/14/2013
    v3.0
    Enterprise 2014 R1        CHP-022018                                2014       2/20/2014
    Enterprise 2014 R1        CHP-022017                                2014       2/20/2014
    Enterprise 2014 R2        CHP-023895                                2014       8/28/2014
                                                      75

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 87 of 106



    Software                 CHPL ID                                    Edition Certification
                                                                                Date
    Enterprise 2014 R1  CHP-023897                                      2014    8/28/2014
    Enterprise 2014 R2  CHP-023891                                      2014    8/28/2014
    Enterprise 2014 R1  CHP-023893                                      2014    8/28/2014
    Enterprise v12      CHP-023890                                      2014    8/28/2014
    Enterprise v12 and  CHP-023889                                      2014    8/28/2014
    v3
    Enterprise 2014 R2  CHP-025317                                2014       2/26/2015
    SR3
    Enterprise 2014 R2  CHP-027642                                2014       6/25/2015
    SR4
    Enterprise 2015 R1  CHP-028970                                2014       12/30/2015
    SR1
    Enterprise 2015 R1  CHP-029180                                2014       3/3/2016
    SR2
    Enterprise 2016 R1  14.04.04.2788.MEDH.16.01.1.160616 2014               6/16/2016
    Enterprise 2016 R1  14.04.04.2788.MEDH.CO.01.1.161006 2014               10/6/2016
    SR1
           242. For each version it caused to be certified, Medhost relied on outside e-prescribing

    software, DrFirst Rcopia, for e-prescribing certification. Physicians who sought to create and

    transmit a prescription electronically had to access Enterprise to create the prescription and

    DrFirst to transmit the prescription to a pharmacy.

               243.   Medhost Enterprise did not enable users to create and transmit electronic

    prescriptions in accordance with ONC requirements.              When users created a prescription

    electronically using Medhost Enterprise, the information in that prescription often would not

    cross over to DrFirst and thus be transmitted to the pharmacy. In other cases, the information

    that crossed over to DrFirst would be different than the information in the prescription the user

    had created in Enterprise. Because the prescription a user created would not necessarily reflect

    the prescription transmitted to the pharmacy, Medhost Enterprise lacked the functionality

    necessary to be eligible for certification for e-prescribing.




                                                      76

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 88 of 106



               244.   CHS tested Medhost Enterprise’s e-prescribing function between 2014 and 2016

    and determined not to implement it because of its unreliability. In early 2014, Relator Neiman

    attended a meeting at Medhost intended to demonstrate Medhost Enterprise’s e-prescribing

    feature to a large audience of CHS managers. Medhost’s demonstration revealed, however, that

    medication information recorded for a patient in Medhost Enterprise sometimes would not

    appear for the patient in DrFirst.

               245.   Beginning in approximately June 2015, Relator Lewis attended regular meetings

    between CHS and Medhost to discuss product issues. In one meeting in September or October

    2015, CHS’s Jay Skibinski reported that CHS had tested Medhost Enterprise’s e-prescription

    feature and determined that it did not function properly. According to Mr. Skibinski, CHS found

    that prescriptions created using the feature could be inaccurate and that medications did not cross

    from Medhost Enterprise to DrFirst accurately. Based in part on that assessment, CHS did not

    implement Medhost Enterprise with DrFirst for e-prescribing.

               246.   In approximately April 2019, Medhost disclosed to ONC that two versions of

    Medhost Enterprise, 2017 R2 and 2018 R1, failed to transmit RxNorm codes in electronic

    prescriptions as required. Encouraging the use of RxNorm, which assigns a unique code to

    medications, was a “primary purpose” of ONC in designing the certification for e-prescribing,

    see 77 Fed. Reg. 54163, 54177 (Sept. 4, 2012), which was intended to “promote[] efficiency and

    safety through reduced communication errors.” See 77 Fed. Reg. 13698, 13710 (March 7, 2012).

    If prior versions of Medhost Enterprise had created and transmitted RxNorm codes in electronic

    prescriptions as required, the issues that CHS discovered in 2014 and 2015 with mismatched

    medication information between Medhost Enterprise and DrFirst could not have occurred. The

    inability of Medhost Enterprise to create and transmit electronic prescriptions accurately in 2014


                                                    77

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 89 of 106



    and 2015 is consistent with a failure to represent medications using RxNorm, as required for

    certification.

               247.   Medhost knew that Medhost Enterprise was incapable of creating and transmitting

    electronic prescriptions accurately no later than early 2014, when its meeting with CHS laid bare

    the lack of functionality in its product. Medhost therefore knew that its requests for certification

    were false because its product was ineligible for certification.

               E.     Medhost Falsely Certified Its Software As to the Meaningful Use "Auditable
                      Events and Tamper-Resistance" Objective

               248.   Under the 2014 edition criteria, 45 C.F.R. § 170.314(d)(1) provides in part that

    complete EHRs or EHR Modules must include the capability to "(i) [v]erify against a unique

    identifier(s) (e.g. username or number) that a person seeking access to electronic health

    information is the one claimed" and "(ii) Establish the type of access to electronic health

    information a user is permitted based on the unique identifier(s).”           In addition, Section

    170.314(d)(2) provides that complete EHRs or EHR modules must, inter alia, "[r]ecord actions

    related to electronic health information…." In addition, "[w]hen disabling the audit log is

    permitted…. The ability to do so must be restricted to a limited set of identified users."

               249.   Medhost’s EHR Software failed to meet the requirements of the Auditable Events

    and Tamper Resistance objective.         Notwithstanding the requirements of 170.314(d)(1)-(2),

    Medhost's EHR software allowed all users to access, view, and modify patient and other

    electronic health information, and to do so without an audit record.

               250.   Healthcare providers, including at CHS, that used Medhost's clinical and/or

    financial software did so with user interfaces designed by Medhost. Much of the operation of the

    software, as well as the storage of patient and financial data, occurs on AS400 servers that run



                                                     78

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 90 of 106



    the back-end portion of Medhost's software. These servers also store all of the patient and other

    financial data used and generated by Medhost software in various database tables.

               251.   Medhost's software allows all users the full ability to both access and change all

    the underlying data tables stored on the AS400 servers, and under some circumstances lacks any

    capability to log or audit such actions.

               252.   The vulnerability arises from the way Medhost software handles "objects" on the

    back-end servers. By design, for Medhost's clinical software to be able to access data in the data

    tables on behalf of users, the data tables are configured with a setting: "Public Authority *all".

    This setting allows access to the data tables for any individual with Medhost credentials and

    allows both viewing and changing of the data.

               253.   Due to this method of object handling, any user can use FTP, ODBC, or JDBC

    connections to view and modify the data tables. In addition, any access or changes made to data

    table using these methods will not be captured by Medhost's audit logging. Due to these security

    vulnerabilities, Medhost was ineligible for certification to the auditable events and tamper-

    resistance criteria.

               254.   CHS was aware of this issue since at least 2009, when CHS employee Jim

    Berryhill described the issue to Relator Lewis. The issue continued to exist through at least

    August 2015, when Manish Shah convened a meeting with Relator Lewis and others to discuss

    how to address the issue. Medhost, meanwhile, knew about the issue no later than October 2014.

               F.     CHS Falsely Attested That Its HMA Hospitals Met Meaningful Use
                      Requirements

               255.   In January 2014, CHS acquired Health Management Associates (“HMA”), a

    competing for-profit hospital chain. The transaction expanded CHS’s hospital network from 135

    to 206 facilities.

                                                      79

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 91 of 106



               256.   The hospitals that CHS acquired from HMA (the “HMA hospitals”) used modular

    EHR technologies. As discussed above in paragraphs 97–100, eligible hospitals may combine

    EHR modules to meet the definition of certified EHR technology, provided they ensure that the

    modules are integrated properly and capable of enabling users to perform the functions required

    of certified EHR technology.

               257.   The EHR modules that the HMA hospitals deployed during the Stage 2 reporting

    period were not integrated properly and were incapable of performing the functions required of

    certified EHR technology.

                      1.     HMA Hospitals Attested That They Met Meaningful Use

               258.   Sixty of the HMA hospitals submitted Meaningful Use attestations during Stages

    1 and/or 2 and were paid a total of $206 million in incentive payments. Exhibit B provides the

    details of these hospitals, their attestation dates, and the incentive payments.

                      2.     CHS Falsely Attested That Its HMA Hospitals Met the Meaningful
                             Use Interoperability Requirements for Modular EHRs

               259.   Despite relying on multiple EHR technologies for patient care, the HMA hospitals

    that CHS acquired in January 2014 failed to integrate the technologies so that the clinical

    information stored in one system was reliably accessible to the other systems, as required for

    HMA to meet requirements for demonstrating Meaningful Use. In particular, the HMA hospitals

    did not develop key software interfaces—protocols by which the applications could exchange

    information—that would allow the hospitals to transfer information on medication orders

    electronically from one department to another. Without the interfaces, providers could not move

    a patient from one EHR module to another without printing the patient’s medical record and

    entering the contents by hand into the new module. Both CHS Senior Vice President and Chief

    Information Officer Gary Seay and President of Division VI Operations Bill Hussey were aware

                                                     80

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 92 of 106



    of the lack of interface between software modules that forced healthcare providers to depend on

    printed copies of patient records.

                             (a)    HMA Hospitals’ Emergency Department Software Did Not
                                    Interface With the Hospitals’ Inpatient Software

               260.   The hospitals’ emergency department information system, Medhost EDIS, did not

    interface with the hospitals’ inpatient EHR system, PULSE, to transmit information on

    medication orders. The only patient data that is shared between the EDIS and PULSE systems

    without manual input is demographic information, billing information, laboratory orders and

    results, and radiology orders, and results.

               261.   All other essential patient data would be transferred from the Emergency

    Department ("ED") to the inpatient facility via printed copies of patient records. These records,

    printed from the EDIS system, would then be hand typed into the PULSE system. After a patient

    is discharged from the Emergency Department ("ED") into the hospital's inpatient facility, the

    EDIS system would implement a "chart lock" that would last typically between 12 and 24 hours.

    For the duration of the "chart lock", the ED personnel has the ability to amend and finalize the

    patient's medical record. After the "chart lock" period has expired, the EDIS system generates a

    patient "report" in PDF format. To transfer information from EDIS to PULSE, an ED staff

    member would print out the PDF formatted patient "reports", compile them into a binder, and

    then bring the information to a staff member on the inpatient side of the hospital. An inpatient

    staff member would manually transfer the information in the binder into the PULSE system.

    During the admission process, which would happen prior to the end of the "chart lock" period,

    the admitting nurse would receive a condensed patient file from the ED via fax known as

    Situation, Background, Assessment, and Recommendation ("SBAR"). This meant that patients

    were admitted into inpatient facilities before receiving a full patient record from the ED, and the

                                                    81

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 93 of 106



    full patient record would be eventually entered manually, introducing a risk of transcription

    errors that would not exist with an integrated, electronic system.

                            (b)    HMA Hospitals’ Inpatient Software Did Not Provide a
                                   Medication Order Interface With the Hospitals’ CPOE
                                   Application

               262.   PULSE did not provide a medication order interface with the hospitals’ CPOE

    application, PatientKeeper. At the HMA hospitals, physicians entered medication orders using a

    proprietary application called the Medical Access Portal (“MAP”). When a physician created an

    order using MAP, the application would communicate the order to PatientKeeper via a software

    interface. Nurses at the HMA hospitals used PULSE for their workflows and did not have access

    to MAP or PatientKeeper.          There was no interface to communicate information from

    PatientKeeper to PULSE, which prevented nurses from viewing the medication orders in the

    patient’s EMR. When physicians signed medication orders, the hospitals had to print the orders

    in the appropriate hospital department for review by the nursing staff. The admitting physician

    would also need to re-enter medication orders initially placed in the ED to PatientKeeper if the

    physician wanted to continue or modify the medications prescribed in the ED. The admitting

    nurse, physician, or pharmacist would closely inspect the printed medication orders to determine

    the last administration of medications given to patients in the ED as to avoid any overdosing.

    Because the problem affected every medication order entered in the hospital, the HMA hospitals

    programmed PatientKeeper to print medication orders automatically.        Therefore, the HMA

    hospitals did not have a CPOE process that was truly electronic and therefore lacked the

    functionality necessary to meet the requirements of the CPOE measure.




                                                    82

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 94 of 106



                            (c)    HMA Hospitals’ CPOE Application Did Not Interface With Its
                                   Pharmacy Management System

               263.   The HMA hospitals lacked an interface from PatientKeeper to their pharmacy

    management system, Horizon Meds Manager (“HMM”). When a physician entered a medication

    order, the order would not appear in HMM. Instead, PatientKeeper would generate an email to

    the pharmacist, who would have to transcribe the contents of the email into HMM. Manually

    copying medication order information from PatientKeeper to HMM increased the risk of

    medication errors. Moreover, it made the hospitals’ Meaningful Use reporting less accurate, as

    pharmacists who received orders via email had to guess whether those orders originally had been

    entered using CPOE.

               264.   Because PULSE did not communicate with Medhost EDIS or PatientKeeper, and

    because HMM did not communicate with PatientKeeper, the HMA hospitals were unable to

    safely and reliably maintain patients’ problem lists, active medication lists, and medication

    histories for the duration of the patient’s entire hospitalization, as required for Meaningful Use.

                      3.    CHS Falsely Attested That Its HMA Hospitals Met Meaningful Use
                            Medication Reconciliation Requirements

               265.   As discussed in paragraph 130 above, EHRs were required to enable a user to

    electronically reconcile the data that represent a patient's active medication, problem, and

    medication allergy list.

               266.   CMS’s Stage 1 and Stage 2 objectives for Medication Reconciliation, as

    articulated in 42 C.F.R. § 495.6(d)–(g) and 42 C.F.R § 495.6(j)–(m), was that the provider who

    “receives a patient from another setting of care or provider of care or believes an encounter is

    relevant should perform medication reconciliation.”

               267.   CMS’s corresponding Stage 1 and 2 measures required that medication

    reconciliation must have occurred for more than 50% of transitions of care in which the patient is
                                                  83

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 95 of 106



    transitioned into the care of the Eligible Professional or admitted to the eligible hospital’s

    inpatient or emergency department.

               268.   To be certified to the 2011 and 2014 Edition certification criteria, CMS further

    requires that EHRs be capable of automatically and electronically triggering evidence-based

    decision support interventions based on certain patient data stored in the EHR system, including

    a patient’s problem list, medication list, medication allergy list, demographics, lab results, or

    vital signs.

               269.   However, the lack of interoperability of EHR modules at HMA hospitals

    prevented users from using EHR technology to reconcile clinical information.               The HMA

    hospitals store active medication lists, problem lists, and medication allergy lists in PULSE.

    Physicians do not have access rights to PULSE. Physicians also cannot access the information in

    PULSE indirectly because their applications—MAP and PatientKeeper—do not interface with

    PULSE. For physicians to reconcile the clinical information in PULSE with clinical information

    from other sources, a nurse must print the patient’s medication reconciliation form for the

    physician to complete by hand. Once the form is complete, the nurse must manually re-enter the

    contents of the form into PULSE.

               270.   Physicians could not electronically reconcile the clinical information in PULSE

    and did not meet CMS’s requirement that they do so at least 50% of the time. Therefore, the

    HMA hospitals did not meet the requirement that providers safely and reliably electronically

    reconcile a patient’s active medication list at admission and other relevant encounters.

               271.   Because the EHR modules at the HMA hospitals lacked the functionality

    necessary to meet CMS requirements for certified EHR technology, the hospitals were ineligible

    for incentive payments under the Meaningful Use program. Despite their ineligibility, 60 of the


                                                     84

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 96 of 106



    HMA hospitals submitted Meaningful Use attestations during Stages 1 and/or 2 and were paid a

    total of $206 million in incentive payments, as Exhibit B details.

                      4.    CHS Knew That the HMA Hospitals Would Not Be Able to
                            Truthfully Attest to Meaningful Use

               272.   CHS knew that the EHR technology at the HMA hospitals was seriously flawed.

    Prior to its acquisition, HMA hired a consulting firm, Accenture, to evaluate HMA’s readiness to

    meet Stage 2 requirements. In a December 3, 2013 report, Accenture warned that “HMA’s

    complex application portfolio results in excessive potential points of failure and limits key

    functionality.” One of the failure points Accenture identified was the processing of medication

    orders, which it found were “highly fragmented involving duplicate data entry and manual

    workarounds that increase the potential for errors.” Accenture noted that “[t]he number of order

    entry systems and complex set of clinical workflows that have been created increase the

    opportunity for more gaps in care and patient safety risks.”

               273.   Due in part to these flaws, Accenture concluded that HMA was not close to

    meeting Stage 2 requirements. It found that HMA had deployed PatientKeeper at only 32 of its

    71 hospitals and was not scheduled to complete deployment at the remaining hospitals until May

    27, 2014. Accenture also found that “Clinical Decision Support, a key functionality of MU

    Stage 2, is currently not implemented in MAP nor evident in product roadmap.” Accenture

    warned that “[t]he fragmentation of applications, workflows and clinical processes impacts

    patient safety and potentially creates significant financial risks (MU Stage 2 and HIPAA

    compliance).”

               274.   In a subsequent report to CHS dated January 6, 2014, Accenture found that

    significant applications remained in development. PULSE, for example, lacked functionality for

    transitions of care, data portability, consolidated clinical document architecture ("C-CDA"), and

                                                    85

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 97 of 106



    interfaces with other applications. Accenture wrote that PULSE was “still in the planning phase”

    for C-CDA and “still in development and testing” for integrating CDS with other EHR modules.

    For transitions in care, Accenture found that PULSE’s “business requirements for this

    functionality are still in review,” while “[i]nterfaces for vendor software such as MEDHOST,

    Patient Safe Systems and Medicity need to be developed.” For the HMA hospitals to attest to

    Meaningful Use in Stage 2, Accenture advised that CHS deploy the applications no later than

    April 1, 2014, leaving only three months to develop core functionality from scratch.

               275.   Despite knowing that the HMA hospitals lacked the functionality necessary for

    meaningful use, CHS decided it would be too costly to convert the hospitals to a different EHR

    system. Even before completing the acquisition, however, CHS and HMA reduced the number

    of the developers responsible for PULSE and MAP and did not allocate other resources to

    developing the applications. As a result, CHS did not develop the functionality needed to meet

    Stage 2 requirements and the problems that Accenture had identified prior to the HMA

    acquisition persisted through the Stage 2 reporting period and beyond.

               276.   The HMA hospitals knew that their EHR systems lacked required functionality

    and alerted CHS to the problems. In June 2015, for example, Relator Lewis joined two of the

    leaders of CHS’s deployment team, Mr. Yzerman and Mr. Hernandez, on a visit to Midwest

    Regional Medical Center, an HMA hospital located in Midwest City, Oklahoma. CHS Project

    Chief Nursing Officer Dana Steffer accompanied the deployment team and remained heavily

    involved with the patient safety aspects of PULSE at Midwest Regional after the initial visit.

    CHS had received numerous complaints from the hospital about PULSE’s cumbersome

    workflows, unsafe functionality, and unstable infrastructure, with physicians threatening to no




                                                    86

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 98 of 106



    longer refer patients to Midwest Regional if the problems continued. The purpose of the visit

    was to evaluate whether to transition Midwest Regional to a different EHR system.

               277.   During the visit, physicians told the CHS executives that the hospital was relying

    on paper to bridge its disparate EHR systems and that this “hybrid system” posed a significant

    safety concern. The physicians said that the lack of an integrated EHR system with modules that

    could communicate with one another forced the hospital to print and re-enter chart information

    whenever patients were admitted from the ER or transferred from one department to another.

    The physicians also said that the hospital was forced to chart medications on paper at the same

    time it was using PULSE to administer medications. The physicians warned that if there was an

    error or delay in entering a medication order from a paper chart into PULSE, a nurse using the

    hospital’s eMAR system could miss the medication order or administer a duplicate dose.

               278.   Physicians in the cardiology department, meanwhile, identified medication

    reconciliation as a “huge patient safety concern” that they feared would “kill a patient.” One

    cardiologist told the CHS executives that physicians were using paper to reconcile medication

    lists because they did not have access to PULSE and that nurses were entering the completed

    reconciliation forms into PULSE by hand. According to the cardiologist, physicians had caught

    errors in the re-entered forms that would have sent patients home with the wrong drugs, doses, or

    instructions. The cardiologist said that physicians at Midwest Regional required nurses to print

    the re-entered forms so that they could check for such errors.

               279.   In meetings at Midwest Regional attended by Relator Lewis, the CFO of Midwest

    Regional Brandon Bullard and Midwest Regional NP and PULSE champion Calli Landes

    reported many specific concerns about PULSE in relation to patient safety. Mr. Bullard was

    directly involved with the hospital's Meaningful Use attestation and may have signed the


                                                      87

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 99 of 106



    attestation packet submitted to the government. In one meeting, Mr. Bullard expressed

    significant frustration regarding the PULSE system, and threatened to leave the Midwest City

    facility if the PULSE failures were not resolved immediately.

               280.   At the time of the visit, Midwest Regional had attested to its meaningful use of

    certified EHR technology on four occasions and received $5.95 million in Meaningful Use

    incentive payments from the Government. Because Midwest Regional had never implemented

    EHR technology that met CMS’s certification requirements, each of the hospital’s attestations

    had been knowingly false. While the Midwest Regional provides an effective example of

    knowingly false Meaningful Use attestations, the substantial integration gaps between modules

    such as PULSE, Patient Keeper, and HMM were not isolated to the Midwest Regional facility.

    CHS Vice President of IT Byung Kang, along with Vice President of Data Analytics Gowri

    Muthumalai had direct and substantial knowledge of PULSE failures across many CHS facilities,

    including Midwest Regional.

               G.     Medhost Illegally Provided Free Software to Induce CHS to Purchase
                      Medhost’s EHR Software

               281.   CHS’s use of Medhost’s software was partly the result of illegal kickbacks. No

    later than 2013, Medhost began to provide CHS with free financial software for the purpose of

    inducing CHS to purchase full licenses of its EHR software suite. The financial software, known

    as Medhost Enterprise Financials (“Medhost Financials”), is a suite of financial applications,

    capable of performing hospital accounting, billing, and other management functions.           The

    products include Accounts Payable, General Ledger, Materials Management, Payroll/Human

    Resources, Patient Accounting, and Health Information Management applications. A license for

    Medhost Financials is worth approximately $250,000. Medhost provided free licenses to at least

    19 CHS hospitals, totaling kickbacks with a value of over $4,750,000.

                                                     88

    598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 100 of
                                     106


              282.   For nearly three decades prior to the kickback scheme, CHS had used—and paid

   for—the Medhost financial software at most of its hospitals.

              283.   Medhost initiated the illegal kickback scheme at the same time it expanded the

   Medhost Enterprise software suite to include Medhost’s clinical package, which CHS later used

   to attest to Meaningful Use. It offered to provide Medhost Financials for free to all CHS

   hospitals, both those that utilized the full Medhost Enterprise EHR suite and those that used

   third-party EHRs, to induce CHS to deploy the clinical package. For each hospital, Medhost

   only required that CHS pay approximately $137,000 for accompanying software products and

   interfaces, including Advanced Security, eArchive, Insurance Eligibility, and SSI Electronic

   Billing.

              284.   CHS knew that Medhost’s offer of free product was intended to induce it to

   purchase EHR software. During the relevant time period, Relators both worked as direct reports

   to Steve Hernandez, CHS’s Senior Director of Information Systems, who was responsible for

   finalizing software pricing with Medhost. During that time, it was commonly known and

   discussed among CHS employees that Medhost’s offer was intended to induce CHS to continue

   doing business with Medhost and, specifically, to purchase Medhost Enterprise. Even for CHS

   hospitals that continued to use third-party EHRs, Medhost’s goal was to maintain a software

   presence at the hospitals to increase the likelihood that CHS would convert those hospitals to the

   Medhost EHR in the future.

              285.   In September 2015, CHS entered into an agreement with Medhost to pay $25

   million to Medhost to convert ten (10) Tier-1 facilities to software and services offered by

   Medhost and purchase Medhost's surgical software suite, Perioperative Information Management




                                                   89

   598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 101 of
                                     106


   System ("PIMS"), for all CHS Medhost facilities. As part of the PIMS purchase, CHS and

   Medhost entered into a side-agreement whereby CHS obtained equity in Medhost.

              286.   Relator Lewis was involved in discussions related to the purchasing of the PIMS

   software and the Tier 1 hospital conversions in September and October 2015. In such

   discussions, he was informed by Mr. Hanson, that Larry Cash was interested in executing the

   PIMS and Tier 1 conversion deal in order to take advantage of a $25 million equity exchange

   that Medhost offered CHS. The PIMS / Tier 1 conversion purchase paperwork that Relator

   Lewis reviewed only referenced payment from CHS to Medhost for the software

   purchase. None of the PIMS / Tier 1 purchase documents that Relator Lewis reviewed included

   any reference to a $25 million equity exchange. Yet, Mr. Hanson informed Relator Lewis that

   Mr. Cash insisted on completing the $25 million PIMS / Tier 1 conversion in order for CHS to

   obtain $25 million in equity in Medhost.

              287.   Medhost additionally regularly offered discounts to CHS for its software and

   maintenance to induce CHS to continue to purchase its software. Gary Seay was also aware of

   these negotiated discounts for future business agreements between CHS and Medhost. Doug

   Hanson continually questioned why CHS insisted on spending capital on Medhost. In late 2016,

   a CHS hospital in Key West converted its EHR system from PULSE to Medhost. Mr. Hanson

   questioned the decision as CHS could have implemented a superior product for an equivalent or

   lesser price.

              288.   On multiple occasions, CHS corporate leadership chose the Medhost EHR for

   hospitals over the objection of CHS implementation and hospital staff, who were concerned

   about the Medhost EHR’s poor track record and a strong preference by doctors for other EHRs

   that were of similar cost. The explanation that CHS gave to Relators and other employees was


                                                    90

   598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 102 of
                                     106


   that CHS needed to “take care of its friends,” referring to Medhost, and “make sure they get

   some business.” For example, Medhost Senior Vice President of Corporate Accounts Ken

   Williamson frequently took CHS Chief Financial Officer Larry Cash to play golf where the

   PIMS software purchase from Medhost and other Medhost software purchases for CHS were

   negotiated.

              289.   The EHR technologies that CHS acquired from Medhost are funded in part by

   Medicare and Medicaid through the EHR incentive programs.

   VI.        Defendants Violated the False Claims Act

              290.   Medhost knowingly misrepresented to customers and to Drummond Group, acting

   on behalf of the government as an authorized certification body, that its EHR products satisfied

   federal Meaningful Use requirements. Medhost had actual knowledge, or at least acted in

   reckless disregard of the truth, that its software did not satisfy the federal Meaningful Use

   requirements.

              291.   Medhost’s misrepresentations foreseeably caused Drummond to certify its

   software. Medhost’s misrepresentations also foreseeably caused customers, including CHS, to

   purchase its EHR technology. The misrepresentations also foreseeably caused the purchasers to

   attest to compliance with Meaningful Use requirements when they were not in compliance with

   those requirements, and foreseeably caused the purchasers to submit claims to the Federal

   Government for EHR incentive payments to which they were not entitled. In this manner,

   Medhost knowingly caused false claims, and false statements material to false claims, to be

   submitted to the Government.

              292.   Medhost has caused federal Meaningful Use incentive payments to be paid for its

   EHR system even though its software does not meet fundamental requirements for certification


                                                    91

   598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 103 of
                                     106


   and attestation as defined by the Meaningful Use criteria. These standards for performance are

   core requirements for any EHR system. Every claim for payment submitted to the Government

   for incentive payments for use of EHR software that does not the requirements for Certified EHR

   Technology or Meaningful Use requirements is a false or fraudulent claim in violation of the

   FCA.

              293.   CHS knew that Medhost’s EHR technology did not meet the requirements for

   Certified EHR Technology or Meaningful Use requirements.            CHS and CHS hospitals

   knowingly presented and caused to be presented submission of false claims to the Government

   for EHR incentive payments to which they were not entitled. CHS and CHS hospitals also

   presented and caused the presentment of false attestations of compliance with Meaningful Use

   requirements, which were material to their false claims for EHR incentive payments.

              294.   CHS knew that the modular PULSE EHR software used by the former-HMA

   hospitals also did not satisfy Meaningful Use requirements. CHS and the former-HMA hospitals

   knowingly presented and caused the presentment of false claims, and made and caused to be

   made false records and statements material to false claims, for EHR incentive payments to which

   they were not entitled.

              295.   By arranging for Medhost to provide CHS with valuable financial software for

   free in return for CHS’s purchase of full licenses of Medhost’s EHR software suite, Medhost and

   CHS knowingly and willfully offered and accepted unlawful remuneration in violation of the

   AKS. Compliance with the AKS is material to the Government’s decision to pay the claims that

   CHS submitted for payment or approval under the Meaningful Use program. All claims made to

   the Government under the Meaningful Use program as a result of services tainted by these

   unlawful payments are false and/or fraudulent within the meaning of the FCA.


                                                  92

   598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 104 of
                                     106


              296.   Through the conduct discussed above, the Defendants knowingly caused the

   submission of false claims and false statements material to false claims to be submitted to the

   Government in violation of the False Claims Act.

                                             False Claims Act
                                31 U.S.C. §§ 3729(a)(1)(A), (B), (C), & (G)

              297.   Relators reallege and incorporate by reference the allegations contained in

   paragraphs 1 through 296 above as though fully set forth herein.

              298.   This is a claim for treble damages and penalties under the False Claims Act, 31

   U.S.C. § 3729, et seq., as amended.

              299.   By virtue of the acts described above, Defendants knowingly presented or caused

   to be presented, false or fraudulent claims to the United States Government for payment or

   approval.

              300.   By virtue of the acts described above, Defendants knowingly made or used, or

   caused to be made or used, false or fraudulent records or statements material to false or

   fraudulent claims for payment by the Government.

              301.   By virtue of the acts described above, Defendants knowingly caused the

   concealment or improper avoidance or decrease of an obligation to pay or transmit money or

   property to the Government;

              302.   By virtue of the acts described above, Defendants knowingly conspired with

   others to violate the FCA. Moreover, Defendants took substantial steps toward the completion of

   the goals of that conspiracy by the conduct alleged herein.

              303.   Relators cannot at this time identify all of the false claims for payment that were

   caused by Defendants’ conduct. The false claims were presented by several separate entities.



                                                     93

   598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 105 of
                                     106


   Relators do not have access to the records of all such false or fraudulent statements, records, or

   claims.

              304.   The Government, unaware of the falsity of the records, statements and claims

   made or caused to be made by Defendants, paid and continues to pay the claims that would not

   be paid but for Defendants’ illegal conduct.

              305.   By reason of Defendants’ acts, the United States has been damaged, and continues

   to be damaged, in a substantial amount to be determined at trial.

              306.   Additionally, the United States is entitled to the maximum penalty for each and

   every violation arising from Defendants’ unlawful conduct alleged herein.

                                                  PRAYER

              WHEREFORE, qui tam Plaintiff-Relators Derek Lewis and Joey Neiman pray for

   judgment against the Defendants as follows:

              1.     That Defendants cease and desist from violating 31 U.S.C. § 3729 et seq.;

              2.     That this Court enter judgment against Defendants in an amount equal to three

   times the amount of damages the United States has sustained because of Defendants’ actions,

   plus a civil penalty for each violation of 31 U.S.C. § 3729;

              3.     That Relators be awarded the maximum amount allowed pursuant to § 3730(d) of

   the False Claims Act;

              4.     That Relators be awarded all costs of this action, including attorneys’ fees and

   expenses; and

              5.     That Relators recover such other relief as the Court deems just and proper.

                                      DEMAND FOR JURY TRIAL

              Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands a

   trial by jury.
                                                      94

   598012.1
Case 1:18-cv-20394-RNS Document 123 Entered on FLSD Docket 07/26/2019 Page 106 of
                                     106


   Dated: July 26, 2019

   David J. Chizewer                                 /s/Jeffrey W. Dickstein__________
   David E. Morrison*                                Jeffrey W. Dickstein (FL Bar No.
   Harleen Kaur                                      434892)
   Danielle K. Johnson                               PHILLIPS & COHEN LLP
   Juan C. Arguello                                  Southeast Financial Center
   GOLDBERG KOHN LTD.                                200 S. Biscayne Blvd., Suite 2790
   55 E. Monroe Street, Suite 3300                   Miami, Florida 33131
   Chicago, IL 60565                                 Tel: (305) 372-5200
   Tel: (312) 201-4000                               jdickstein@phillipsandcohen.com
   Fax: (312) 863-7472
   David.chizewer@goldbergkohn.com                   Colette G. Matzzie*
   David.morrison@goldbergkohn.com                   Luke J. Diamond
   Harleen.kaur@goldbergkohn.com                     PHILLIPS & COHEN LLP
   Danielle.johnsons@goldbergkohn.com                2000 Massachusetts Ave., N.W.
   Juan.Arguello@goldbergkohn.com                    Washington, D.C. 20036
                                                     Tel: (202) 833-4567
                                                     cmatzzie@phillipsandcohen.com
                                                     ldiamond@phillipsandcohen.com

                                                     Edward Arens*
                                                     PHILLIPS & COHEN LLP
                                                     100 The Embarcadero, Suite 300
                                                     San Francisco, CA 94105
                                                     Tel: (415) 836-9000
                                                     earens@phillipsandcohen.com

                                                     Attorneys for Qui tam Plaintiffs
                                                     Derek Lewis and Joey Neiman

                                                     *Admitted Pro Hac Vice




                                        95

   598012.1
